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12
13                       IN THE UNITED STATES DISTRICT COURT
14                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA
15
16    K.J.P., a minor, and K.P.P., a minor,
                                     )             No. 15cv2692-H(MDD)
      individually, by and through their mother,
                                     )
17    LOAN THI MINH NGUYEN, who also )             DEFENDANTS’ MEMORANDUM OF
      sues individually and as successor in
                                     )             POINTS AND AUTHORITIES IN
18    interest to her now deceased husband,
                                     )
      Lucky Phounsy, and KIMBERLY NANG
                                     )             OPPOSITION TO PLAINTIFFS’
19    CHANTHAPHANH, individually,    )             MOTION IN LIMINE TO EXCLUDE
                                     )             TESTIMONY OF DR. RICHARD
20               Plaintiffs,         )
            v.                       )             GELLER [ECF NO. 260]
21                                   )
      COUNTY OF SAN DIEGO; San Diego )             Date: February 8, 2021
22    Sheriff WILLIAM GORE; RICHARD  )             Time: 10:30 a.m.
      FISCHER; KEVIN RALPH; MARCOS )               Dep.t.: 15A - Courtroom of the
23    COLLINS; JANAE KRULL; SANDRA )
      (JANET) CARBAJAL; BILLY        )             Honorable Judge Marilyn L. Huff
24    TENNISION, III; DEAN ALLEN;    )
      MICHAEL LEE; JENNY MARTINSON; )              Trial Date: February 23, 2021
25    TAMANI PUGH; AARON BROOKE;     )
      JOVONNI SILVA; CITY OF SANTEE; )
26    AARON BAGLEY; AARON HACKETT; )
      AARON DO; ADAM DANIELS;        )
27    DANIEL NEOW; LAKESIDE FIRE     )
      PROTECTION DISTRICT; MARC      )
28    POYNTER; DAVID CSIK,           )
                                     )
                 Defendants.         )
                                     )
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1                                     I.     INTRODUCTION
2           Plaintiffs do not want the jury to learn that Lucky Phounsy (“Phounsy”) was
3     suffering from excited delirium when he violently fought with the deputies. They also
4     want to keep the jury in the dark that Phounsy’s use of synthetic drugs commonly known
5     as “bath salts” was the cause of his excited delirium. To that end, Plaintiffs’ second
6     motion in limine is a Daubert motion seeking to prevent defense toxicology expert Dr.
7     Richard Geller from testifying that Phounsy used “bath salts” at any point in his life. But
8     Plaintiffs do not offer a valid basis to exclude Dr. Geller’s testimony. They do not
9     challenge his qualifications or suggest his testimony is not the proper subject of expert
10    testimony. Rather, Plaintiffs simply disagree with Dr. Geller and accuse him of
11    speculating about Phounsy’s drug use. In their desperate attempt to exclude Dr. Geller
12    from testifying, Plaintiffs go so far as to make material misrepresentations that Phounsy’s
13    family was unaware of his drug use.1 Even if the court considered Plaintiffs’
14    misrepresentations, exclusion is not the proper remedy because Plaintiffs’ argument goes
15    to weight of the evidence and not admissibility. Because Plaintiffs’ arguments are devoid
16    of merit and predicated on false representations to this court, their motion to exclude Dr.
17    Geller from testifying about Phounsy’s use of “bath salts” should be denied.
18                       II.   STANDARD FOR MOTIONS IN LIMINE
19          To exclude evidence on a motion in limine, the evidence must be “clearly
20    inadmissible on all potential grounds.” Ind. Ins. Co. v. Gen. Elec. Co., 326 F.Supp.2d
21
            1
22             Plaintiffs tell the court that “Greg Kelley, Phounsy’s stepfather, had no
      knowledge of Phounsy ever using any drug other than marijuana” (Doc. No. 260-1, p. 4,
23    fn. 1). However, Phounsy’s wife told Kelley that Phounsy had taken cocaine and acid.
      (Exhibit D, Loan Nguyen Depo 2, p. 59:1-12; Ex. E, Greg Kelley deposition, p.45:7-9).
24    Kelley himself reports that Phounsy used cocaine and acid to the 9-1-1 operator on the
      day of the incident. (Ex. E, Kelley depo, p. 66:5-21). Plaintiff Loan Nguyen, Phounsy’s
25    wife, suggests to the court that she was unaware of her husband’s drug use. (Doc. No.
      260-1, p. 4:13-19). However, Ms. Nguyen testified at deposition that her husband told
26    her that he had taken “ecstasy and acid.” (Ex. D, Nguyen Depo 2, p. 62:15-16). Out of
      concern for his health, Ms. Nguyen told paramedics that Phounsy had used LSD, ecstasy,
27    marijuana, whippets, and cocaine. (Ex. D, Nguyen Depo 2, p. 89:13-p. 90:20). Despite
      Plaintiffs own admissions under oath, they inexplicably argue in their motion that
28    “witnesses repeatedly testified that Phounsy did not have a history of using any illegal
      drugs.” Doc. No. 260-1, 8:2-3.
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1     844, 846 (N.D. Ohio 2004) (emphasis added). “Unless evidence meets this high
2     standard, evidentiary rulings should be deferred until trial so that questions of foundation,
3     relevancy and potential prejudice may be resolved in proper context.” Hawthorne
4     Partners v. AT & T Tech., Inc., 831 F. Supp. 1398, 1400 (N.D. Ill. 1993). This is
5     because, although rulings on motions in limine may save “time, cost, effort and
6     preparation, a court is almost always better situated during the actual trial to assess the
7     value and utility of evidence.” Wilkins v. Kmart Corp., 487 F.Supp.2d 1216, 1218 (D.
8     Kan. 2007). See Colton Crane Co., LLC v. Terex Cranes Wilmington, Inc., 2010 U.S.
9     Dist. LEXIS 141013, at * 3, 2010 WL 2035800 (C.D. Cal. May 19, 2010)(“[M]otions in
10    limine should rarely seek to exclude broad categories of evidence, as the court is almost
11    always better situated to rule on evidentiary issues in their factual context during trial.”).
12          Federal Rule of Evidence (“F.R.E.”) 702 governs the admissibility of expert
13    opinion testimony. It includes the prerequisite that, in order to testify as an expert on a
14    particular subject, the witness must first be qualified to do so by their knowledge, skill,
15    experience, training, and/or education. See F.R.E. 702; see also Daubert v. Merrell Dow
16    Pharm. Inc., 43 F.3d 1311, 1315 (9th Cir. 1995). If a witness is qualified as an expert,
17    F.R.E. 702 sets forth four additional requirements for the testimony to be admitted:
18          (a) The expert’s specialized knowledge must “help the trier of fact to understand
19              the evidence or to determine a fact in issue”;
20          (b) The testimony must be “based on sufficient facts or data”;
21          (c) The testimony must be “the product of reliable principles and methods”; and
22          (d) The expert witness “reliably applied th[ose] principles and methods to the facts
23              of the case.”
24    F.R.E. 702 (a)-(d).
25    ///
26    ///
27    ///
28    ///

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1                                        II.    ARGUMENT
2     A.    Whether Or Not Lucky Phounsy Used Or Was Under the Influence of “Bath
            Salts” Is The Proper Subject of Dr. Geller’s Medical Expert Opinion As A
3
            Board Certified Toxicologist.
4
5           Dr. Geller is a physician, board certified in internal medicine, emergency medicine,
6     and medical toxicology. He has 27 years of clinical experience both as an internist and as
7     an emergency room physician. He also has 30 years serving as director of the
8     Fresno/Madera Division of the California Poison Control System. (Exhibit A., Dr.
9     Richard J. Geller report, pg. 1.) He is both a medical and forensic toxicologist. (Exhibit
10    J, Dr. Richard J. Geller deposition, p. 10:13-16.)
11          Dr. Geller’s opinions about Phounsy’s use of bath salts are based on his extensive
12    experience and on medical science. The National Institute on Drug Abuse2, describes
13    bath salts as “Synthetic cathinones, more commonly known as bath salts, are human-
14    made stimulants chemically related to cathinone, a substance found in the khat plant.”
15    Among other things, synthetic cathinones can cause paranoia, hallucinations, panic
16    attacks, and excited delirium—extreme agitation and violent behavior.3 This is consistent
17    with Dr. Geller’s medical opinion, where he describes “bath salts” as a synthetic
18    cathinone derived from substance found in the Khat tree of Africa. (Ex. A., Dr. Geller
19    report, pg. 9.) According to Dr. Geller, based on his medical experience and relying on
20    extensive scientific medical literature included in his report, “adverse psychiatric effects
21    of synthetic cathinone [bath salts] use as including agitation, aggression, anxiety,
22    paranoia, paranoid delusion, visual and auditory hallucinations (often in the form of
23    threatening people) and psychosis. (Id. at page 10 and page 15; see also Ex. K, medical
24    journal excerpts). Unfortunately, bath salts are not detected by routine toxicology testing
25    because of their constantly evolving chemical makeup and the lack of widely available
26    detection methods. (Ex. A, Dr. Geller report, pg. 10.)
27          2
               The National Institute on Drug Abuse which is the lead federal agency supporting
      scientific research and drug use and its consequences. See https://www.drugabuse.gov/
28           3
               https://www.drugabuse.gov/publications/drugfacts/synthetic-cathinones-bath-
      salts
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1     B.    Dr. Geller’s Opinion Properly Relies On Phounsy’s Clinical Presentation And
            Admitted History of Drug Abuse.
2
3           In his deposition, Dr. Geller summarized the basis for his opinion that Phounsy
4     used bath salts, which was further detailed in his report.
5           Q Okay. So we'll use that term. So you're saying that based on his behavior
            on the 13th the -- the evening of the 13th as well as the clinical findings on
6           autopsy that to a high degree of medical probability Mr. Phounsy apparently,
            unbeknownst to his family and the people around him, consumed bath salts,
7           and that's why he went into this altered state of consciousness.
                  ...
8
            THE WITNESS:ꞏ On the basis of the sum total of information that was
9           presented to me in this case, his previous history, the pathology on his
            autopsy, going to a concert where drug use was rampant, and the
10          opportunity to buy bath salts was there and, most importantly,his behavior
            on the evening of the 13th after a relatively lucid interval during the earlier
11          part of the day on the 13th, I believe -- it is my opinion as a medical
            toxicologist to a reasonably high ꞏdegree of medical probability, well
12          exceeding 50 percent, that his -- that he was under the influence ꞏof a
            sympathomimetic drug not detectable by the San Diego County Medical
13          Examiner.
14    (Ex. J, Dr. Geller depo., p. 75:19- p. 76:18.)
15          Dr. Geller is not alone in his opinion that Phounsy ingested a synthetic or stimulant
16    drug (commonly referred to as “bath salts”) that caused him to suffer excited delirium.
17    Dr. Steven Campman—the medical examiner who performed Phounsy’s autopsy before
18    Plaintiffs filed this lawsuit or made any accusation—reached the same conclusion.
19          “The decedent showed some of the major features of the Excited Delirium
            Syndrome, including psychosis, "super strength" and a sudden
20          cardiorespiratory arrest after a struggle and restraint; however, he reportedly
            did not have a high body temperature, did not have an identified toxic
21          concentration of stimulant drugs or a history of a naturally occurring
            psychosis, and his serum potassium concentration was not low when he got
22          to the hospital. It remains possible, however, that he was still experiencing
            toxic effects of the MOMA or of a synthetic cathinone or other stimulant
23          drug that was not detected or tested for (there are numerous such "bath
            salts" and other compounds, with new formulations being created, such that
24          some are not detected by our methods).
25    (Exhibit B., Dr. Steven Campman’s Autopsy Report, pg. 3 (emphasis added).) Even
26    Plaintiffs’ own expert, Dr. Jerry Thrush, board certified in emergency medicine, agreed
27    with the “excited delirium” diagnosis. (Exhibit C, Dr. Jerry Thrush Report, pg. 27 “My
28    ///

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1     opinion is that temperature was elevated and in this clinical context a part of muscular
2     activity from struggle with superimposed finding consistent with excited delirium.”)
3           Plaintiffs do not challenge Dr. Geller’s qualifications and for good reason. They
4     also do not contest the severe effects that bath salts have on a person. Plaintiffs also do
5     not argue that bath salts are difficult to screen for. Instead, Plaintiffs contend that Dr.
6     Geller’s opinions that Phounsy ingested “bath salts” is “based on nothing but rank
7     speculation.” Doc. No. 260-1, 2:5-7. Summarily stated, Plaintiffs seem to suggest that
8     Dr. Geller’s opinion is speculative because none of the percipient witnesses (Phounsy’s
9     family and friends) ever used the words “bath salts” when describing Phounsy’s drug use.
10    Doc. No. 260-1, 4:3-11. But neither the agreed upon diagnosis of excited delirium nor
11    the opinion that it was caused by Phounsy ingesting “bath salts” is pulled from thin air as
12    Plaintiffs suggest. Instead, that diagnosis and opinion is rooted on facts that cannot be
13    reasonably disputed, including admissions by Phounsy’s own family that he used
14    powerful illicit drugs. Many of these facts were recorded on the day of the incident,
15    when memories were fresh and the influence of lawyers had yet to materialize. The
16    uncontroverted evidence of Phounsy’s drug use is extensive and includes the following:
17        Phounsy explicitly told his wife, Plaintiff Nguyen, that he had used drugs the
18          previous days while attending two days of a music festival. (Ex. D, Nguyen Depo
19          2, p. 62:15-16.)
20        Nguyen, from this conversation and her observations of her husband, believed that
21          the drug use was contributing to his problems on the day of the event. (Ex. D,
22          Nguyen Depo 2, p. 59:19-24, p. 63:13-22.)
23        Nguyen told Greg Kelley, Phounsy’s step-father, that Phounsy had taken cocaine
24          and acid. (Ex. D, Nguyen Depo 2, p. 59:1-12; Ex. E, Kelley depo., p.45:7-9).
25        Kelley believed Phounsy was acting and feeling unusual on the day of the event
26          because of the drugs that he took. (Ex. E, Kelley depo., p. 54:20-p. 55:4)
27        Kelley told the 9-1-1 dispatcher that Phounsy had taken cocaine and acid (Ex. E,
28          Kelley depo, p. 66:5-21)

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1         Sheriff’s dispatch informed responding deputies the reports that Phounsy was
2           under the influence of cocaine and acid. (Exhibit F, CAD, p. 1-2; Exhibit G,
3           Collins deposition, p. 31:12-18; Exhibit H, Krull deposition, p. 35:1-7.)
4         When deputies arrived, Kelley informed them that Phounsy was under the
5           influence of drugs, specifically acid and cocaine. (Ex. G, Collins depo., p. 34:16-p.
6           35:7, p. 51:10-24; Ex. H, Krull depo., p. 35:1-7, p. 47:15-p. 48:14).
7         Phounsy’s wife told paramedics that Phounsy had used LSD, ecstasy, marijuana,
8           whippets, and cocaine. (Ex. D, Nguyen depo. 2, p. 89:13-p. 90:20).
9         Sharp Grossmont Hospital Emergency Department records indicate that Phounsy
10          had used cocaine, LSD, marijuana, sleeping aids, stimulants, and had a history of
11          drug and alcohol abuse. Exhibit I, Sharp Intake Forms, pg. 3.
12          In short, there is no question that Phounsy was using drugs in the days leading up
13    to the incident. Because some of the drugs mentioned by the percipients (cocaine, LSD,
14    etc) did not show up in the toxicology report, a question arises as to what drugs Phounsy
15    was in fact using and when. As a toxicologist, Dr. Geller is uniquely qualified to answer
16    that question to assist the jury, which is precisely the purpose of expert testimony. See In
17    re Countrywide Fin. Corp. Mortg.-Backed Sec. Litig., 984 F.Supp.2d 1021, 1026 (C.D.
18    Cal. 2013) (“The Rule 702 inquiry requires the Court to determine that the witness is
19    qualified by special knowledge as an expert in the relevant area of expertise. . . . [and]
20    determine if the proffered expert testimony is helpful to the trier of fact.”). Without Dr.
21    Geller, the jury would be left unassisted to answer medical questions that only an
22    experienced toxicologist can explain. This is particularly important in this case because
23    Plaintiffs have not designated a toxicologist and there is no other reasonably plausible
24    explanation for Phounsy’s erratic and violent behavior on the day of the incident.4
25          In their motion, Plaintiffs cite Taylor v. Burlington Northern R. Co., 787 F.2d
26    1309, 1315 (9th Cir. 1986) arguing that it is analogous to the circumstances in this case.
27          4
              Plaintiffs have attempted to suggest that Phounsy was suffering from some type
28    of mental health crisis. However, there is no evidence of any mental illness or disability
      and Plaintiffs has not designated any mental health professional qualified to provide such
      an opinion. See Defendants Motion in Limine No. 2, ECF Dkt. No. 266.
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1     Plaintiffs’ reliance is misplaced. Although the court in Taylor did exclude proffered
2     testimony of PCP use as speculative and unduly prejudicial under Rule 403 of the Federal
3     Rules of Evidence, there are important factual distinctions that make that holding
4     inapplicable here.
5           First, the plaintiff in Taylor was a former railroad employee suing under the
6     Federal Employers’ Liability Act (FELA) alleging his foreman violently harassed him
7     causing him to suffer paranoid schizophrenia. Id at 1312. Unlike this case, it did not
8     involve a use of force case under section 1983 where the reasonableness of the force used
9     by the defendant was a necessary consideration. Second, the plaintiff in Taylor, was
10    intellectually disabled. Id at 1313. He was also twice committed to a mental hospital,
11    diagnosed with paranoid schizophrenia, and received antipsychotic drugs on an outpatient
12    basis. Id at 1314. Here, there is no evidence that Phounsy suffered from any mental
13    illness or was intellectually disabled in any way. See Defendants Motion in Limine No.
14    2, Doc. No. 266. Third, Taylor did not involve a toxicology report nor any direct
15    evidence that plaintiff had indeed consumed hallucinogenic drugs. By contrast here, the
16    record is replete, as detailed above, with evidence confirming Phounsy’s drug use
17    including his toxicology report, his own statements made to his wife, his wife’s
18    statements to Phounsy’s medical providers, and his erratic and violent behavior. In short,
19    the facts and circumstances in Taylor are inapposite and have no application in this case.
20          Carefully considered, Plaintiffs’ motion attacks what they perceive as weakness in
21    Dr. Geller’s analysis and conclusion. However, the recourse for Plaintiffs is cross-
22    examination, not exclusion. See In re REMEC Inc. Sec. Litig., 702 F.Supp.2d 1202, 1219
23    (S.D. Cal. 2010) (perceived weaknesses in an expert’s analysis may be explored through
24    cross- examination); see In re NJOY Consumer Class Action Litig., 120 F.Supp.3d 1050,
25    1071 (C.D. Cal. 2015) (“All that [plaintiff] has shown is that, under its view of the facts,
26    Harris’s testimony may not be convincing; that is not a valid basis for excluding Harris as
27    an expert.”) If Plaintiffs feel Dr. Geller’s opinion is incorrect, they may “attack[] by
28    cross examination, contrary evidence, and attention to the burden of proof, not

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1     exclusion.” Primiano v. Cook, 598 F.3d 558, 564 (9th Cir. 2010); In re REMEC Inc. Sec.
2     Litig., 702 F.Supp.2d 1202, 1219 (S.D. Cal. 2010) (perceived weaknesses are to be
3     explored through cross-examination, not exclusion).
4           The trial court is “a gatekeeper, not a fact finder.” United States v. Sandoval-
5     Mendoza, 472 F.3d 645, 654 (9th Cir. 2006). If it is clear that an expert’s testimony rests
6     on a reliable foundation and is relevant to the task at hand, the court’s gatekeeping
7     function is satisfied. Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 597
8     (1993). While Plaintiffs disagree with Dr. Geller’s conclusion, they fail to present any
9     valid reason why an expert toxicologist would not assist the jury in discussing the role
10    drugs played in Phounsy’s death. See Alaska Rent-A-Car, Inc. v. Avis Budget Group,
11    Inc., 738 F.3d 960, 969-70 (9th Cir. 2013) (“The district court is not tasked with deciding
12    whether the expert is right or wrong, just whether his testimony has substance such that it
13    would be helpful to a jury.”)
14    C.    The Probative Value of Phounsy’s Use of Bath Salts Is Not Outweighed By
            Any Unfair Prejudice Because It is Central To Explaining His Conduct.
15
16          “The exclusion of relevant evidence under Rule 403 is ‘an extraordinary remedy to
17    be used sparingly’.” K-B Trucking Co. v. Riss Int’l Corp., 763 F.2d 1148, 1155 (10th Cir.
18    1985). The standard under Fed. R. Evid. 403 is not whether “‘evidence is prejudicial,’ . .
19    . but rather whether the evidence’s ‘probative value is substantially outweighed by the
20    danger of unfair prejudice.’” Batiz v. Am. Commercial Sec. Servs., 776 F. Supp. 2d 1087,
21    1092 (C.D.Cal. 2011) (italics original).
22          Here, Plaintiffs are accusing the defendant deputies of using excessive force and
23    denying Phounsy medical care resulting in his death. What illicit drugs Phounsy had in
24    his system at the time he violently fought with deputies is central to the evaluation of
25    whether the force was reasonable. This is particularly true because bath salts are known
26    to cause erratic and violent behavior. (Ex. A, Dr. Geller report, pg. 9.) It is also central
27    to the question of Phounsy’s cause of death.
28    ///

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1           Numerous courts in Section 1983 cases have held that the probative value of such
2     evidence substantially outweighs any possible prejudicial effect. See, e.g., Boyd v. City
3     & County of San Francisco, 576 F.3d 938, 948-49 (9th Cir. 2009) (upheld ruling
4     admitting evidence that decedent was intoxicated on drugs at time of shooting because it
5     "was highly probative of the decedent's conduct, particularly in light of [the decedent's]
6     alleged erratic behavior); Saladino v. Winkler, 609 F.2d 1211, 1214 (7th Cir.1979) (an
7     excessive force action against police officer, evidence of plaintiff’s intoxication held
8     admissible because it was “relevant to the issue of the reasonableness of the plaintiff’s
9     conduct at that time” and “tends to make [it] more probable that the plaintiff acted as the
10    defendant contended he did or that plaintiff otherwise conducted himself in such a
11    manner as to place the defendant reasonably in fear of his life”); Turner v. Cty. of Kern,
12    No. 1:11-CV-1366 AWI SKO, 2014 U.S. Dist. LEXIS 18573, at *5-6 (E.D. Cal. Feb. 12,
13    2014) (“[i]t is not uncommon for courts to permit evidence that a plaintiff/decedent was
14    under the influence of drugs or alcohol in order to explain unusual behavior or to
15    corroborate the officers' version of how a decedent acted”); Davis v. Duran, 276 F.R.D.
16    227, 232 (E.D. Ill. 2011) (noting “[e]vidence of alcohol or drug consumption is often
17    admitted in excessive force cases on this theory [that plaintiff acted as the officer
18    claimed] and notwithstanding the officer’s lack of knowledge about that consumption,”
19    and citing cases). See also Samples v. City of Atlanta, 916 F.2d 1548, 1552 n.2 (11th Cir.
20    1990) (evidence of decedent’s glue sniffing was relevant “to determining whether the
21    officer acted reasonably” and “[t]he effects that glue sniffing have on behavior also
22    tended to support the officer’s description of David’s actions”).
23          Moreover, Phounsy’s use of bath salts is probative to the wrongful death damages
24    claimed in this case. See e.g., Cobige v. City of Chicago, 651 F.3d 780, 784-785 (7th Cir.
25    2011)(holding it was reversible error to preclude evidence of a decedent’s record of
26    arrests and convictions, imprisonment, and drug addiction because such evidence was
27    relevant to the issue of damages in a wrongful death case to show the quality of the
28    relationship between decedent and the plaintiff heirs). Courts have consistently permitted

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1     “wrongful death” defendants to introduce evidence of a decedent’s health and criminal
2     history so as to permit the jury a fair opportunity to evaluate plaintiff’s damages claims.
3     Boyd v. City & Cty. of San Francisco, 2006 WL 1390423, at *2 (N.D. Cal. 2006)(“In
4     particular, California law allows a jury to consider the decedent’s life expectancy, taking
5     into account his health habits and lifestyle as well as any... self-destructive impulses in
6     determining these amounts.”). Chatham v. Davis, 2014 WL 12659450, at *4 (S.D. Ill.
7     2014), aff'd, 839 F.3d 679 (7th Cir. 2016)(“[E]vidence of [decedent]’s multiple prior
8     arrests were relevant to show how active [decedent] would have been in his son’s life if
9     he had lived based on his prior record and drug usage.”); Chatham v. Parkhill, 2013 WL
10    5912154 at *1 (S.D. Ill. 2013) (Proper for defendants to present “evidence of the
11    decedent’s criminal history and daily drug use in order to rebut evidence regarding the
12    decedent’s relationship with his son.”).
13                                      III.     CONCLUSION
14          Plaintiffs have not raised any valid basis to exclude Dr. Geller’s opinion about
15    Phounsy’s use of bath salts. Plaintiffs’ subjective disagreement should be pursued
16    through examination, not preclusion. Plaintiffs’ Daubert motion should be denied.
17                                             Respectfully submitted,
18    DATED: January 25, 2021                  Office of County Counsel
19                                             By: s/ RONALD LENERT, Senior Deputy
                                               Attorneys for Defendants County of San Diego,
20                                             Dean Allen, Aaron Brooke, Sandra Carbajal,
                                               Marcos Collins, Janae Krull, Michael Lee, Jenny
21                                             Martinson, Tamani Pugh, Jovonni Silva, and Billy
                                               Tennison
22
23    DATED: January 25, 2021                  MANNING & KASS
                                               ELLROD, RAMIREZ, TRESTER LLP
24
                                               By: s/ MILDRED O’LINN
25                                             Attorney for Defendant Richard Fischer
26
27
28

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              EXHIBIT “A”
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To:     Mr. James Chapin, Office of County Counsel, County of San Diego California

From: Richard J. Geller, MD, MPH, MS

Re:     Report, Mr. Lucky Phounsy

Date:   May 22, 2017



Dear Mr. Chapin

        I am writing, at your request, the following report regarding Mr. Lucky Phounsy

        My qualifications are as follows. My formal education includes having earned university degrees from
Boston College (BS, chemistry), Tufts University (Doctor of Medicine), California State University Fresno
(Master of Public Health) and the University of Florida (Master of Science, forensic toxicology). I have been
certified by the American Board of Internal Medicine and the American Board of Emergency Medicine. I
practiced clinical medicine, both as an internist and as an emergency physician, for a period of 27 years.
During that time I treated in an emergency department setting the acute effects of stimulant exposure on
many occasions. In addition to being an internist and emergency physician, I am a very experienced medical
toxicologist, having been certified by the American Board of Medical Toxicology and by the American Board of
Emergency Medicine in the subspecialty of medical toxicology. A medical toxicologist is an expert in the
adverse clinical effects of xenobiotics, importantly including medications, on the human body, as well as being
an expert in the diagnosis and treatment of poisoning from all poisons, including medications. I have many
years of experience in clinical pharmacology, and am employed by the Department of Clinical Pharmacy,
University of California San Francisco School of Pharmacy. In that role I am the director of the Fresno/Madera
Division of the California Poison Control System, a position I have held since 1987. In that role I also teach
medical toxicology and advanced pharmacy practice to fourth year doctoral students. In addition to being a
Health Sciences Associate Professor, University of California San Francisco School of Pharmacy, I am also an
Associate Clinical Professor, Medicine, University of California San Francisco School of Medicine, and an
Adjunct Professor of Pharmacy Practice, University of the Pacific School of Pharmacy and Health Sciences,
where I also teach fourth year doctoral pharmacy students. In my 30 years of experience as a poison control
medical director, I have observed and/or consulted on thousands of cases of exposure to drugs of abuse,
including a number of fatal exposures. I am a physician currently and consecutively licensed by the Medical
Board of California since 1983, certificate number G49837.

        As compensation for my time in reviewing records and in writing this report, we have agreed that I will
be paid a fee of $200 per hour. As of this date, I have not been paid for my work on this case.

        Appended to this report is my most recent curriculum vitae.
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         I have expertise in the medical and forensic toxicological matters which follow, and am prepared to
testify in court. I have previously testified as an expert in medical and forensic toxicology in federal court and
in superior courts in the State of California. Specifically, I have testified in Federal Court in San Diego regarding
the acute effects of methamphetamine intoxication. While I do not keep a comprehensive record of my
appearances in court, I have examined my billing records for the previous 5 years, and determined that I
testified in court in the cases of Shaundra Brummett, et al., v. County of San Diego et al., in federal court in San
Diego in 2014, CA Medical Board v. Dr. Pero (2016) and Lewis v. County of San Diego (2017). I have been
deposed in: Gallarzo v. Trinity Health Michigan (2014), Jackson v. Munson Medical Center (2014), Select
Specialty Kalamazoo v. McLachlan (2013), Kaufman v Spectrum Health (2012), Varga v. Rady Children's Hospital
(2012 or 2013), Antelma Soria v. CDCR (2016), Napier v. County of San Diego (2016) and Vianey Valdez v. State
of California (2016).

         You have asked me to comment on:

    1. The meaning of positive and negative toxicology findings as reported by the San Diego County Office of
         the Medical Examiner, following testing of Mr. Phounsy’s antemortem blood drawn April 13, 2015, and
         also his urine, harvested at an unknown time.
    2. The possibility that Mr. Phounsy’s altered mental status on April 13, 2015 could have been caused by
         consumption of methcathinone derivatives (“bath salts”) or other stimulant drug that was not
         detected or tested for as suggested by the San Diego County Office of the Medical Examiner.
    3. Any possible causal relationship between Mr. Phounsy’s reported history of drug abuse and his
         cardiopulmonary arrest on April 13, 2015.

         The information provided to me by your office is as follows:

                                                     Documents

    1.   County of San Diego, Office of the Medical Examiner, Investigative Report, Lucky Phounsy
    2.   Selected medical records, Sharp Grossmont Hospital, Lucky Phounsy
    3.   Lakeside/Santee Fire Department Pre-Hospital Care Report, 04/13/2015, Lucky Phounsy
    4.   Documents related to organ donation, Lifesharing, Lucky Phounsy

                                                    Depositions

    1.   David Csik
    2.   Daniel Nenow
    3.   Captain Aaron Bagley

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    4.   Aaron Do
    5.   Adam Daniels
    6.   Deputy Janae Krull
    7.   Deputy Marcos Collins
    8.   Deputy Richard Fisher
    9.   Deputy Billy Joe Tennison III
    10. Deputy Sandra Janet Carajal
    11. Charles Campman, MD

                                             Additional Documents

    1.   Internet Brochure, 2015 Coachella Valley Music and Arts Festival
    2.   Various references from peer-reviewed medical literature, as cited below and in bibliography

                              Information abstracted from documents cited above

         On Friday, Saturday and Sunday, April 10, 11 and 12, 2015, the Coachella Valley Music and Arts Festival
was held in Indio, California. This is a yearly event widely known to be accompanied by illegal drug use. In
2015, “A total of 93 arrests were made during the first weekend of the Coachella Valley Music & Arts Festival,
13 more last year, according to the Indio Police Department. A majority of the arrests — 56 — were related to
illegal narcotics, while 20 festivalgoers were arrested for alcohol violations, according to a police department
statement released April 14.” ( Accessed May 16, 2017 at:
http://www.dailybulletin.com/events/20150414/coachella-2015-93-arrests-one-death-during-festivals-first-
weekend ) Mr. Phounsy was an attendee at the concert.

         On Monday, April 13, 2015, Mr. Phounsy was at home in Santee, California. He apparently did not
appear ill or of abnormal mental status for most of the day. However, toward evening, he underwent a change
in mental status. Included with the transcript of deposition testimony of Deputy Billy Joe Tennison III provided
to me is a section of the San Diego Sheriff’s Department Follow-up Investigative Report, Case Number
15118678.

         I quote from the report, which appears to be authored by Detective K. Brayman. “Statement of Greg
Kelly. Kelly is Phounsy’s step father. Phounsy and his family came over to his house about 1200-1300 hours,
today to celebrate Phounsy’s child’s first birthday. Phounsy was fine most of the day, and had been playing
outside with the kids. About 18:00 hours, Phounsy started to hear things and was paranoid. Phounsy believed
someone was after him.


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                Kelly was informed that Phounsy had recently used drugs and Phounsy’s wife was calling a
        doctor to see what they need to do. The doctor told them that Phounsy just needed to go to sleep.
        Kelly drive down Walgreens and purchased over the counter sleeping pills. Kelly went back to his house
        and gave Phounsy the medication. Phounsy took the pills and started to go to sleep but then would
        wake up. Phounsy was still paranoid: Phounsy would look in closets and call his friends to see if they
        were coming to get him.

                About 2000 hours, Phounsy’s wife called the doctor again and was informed that they needed
        to take Phounsy to the hospital. Phounsy then called 911 on himself and gave Kelly the phone. Kelly
        gave dispatch the information to this incident. Kelly then waited in the garage for responding deputies.
        Once the duties arrived talked to them about what was going on prior to the making contact with
        Phounsy.”

                Included with the transcript of deposition testimony of Deputy Sandra Janet Carajal provided
        to me is a section of the San Diego County Sheriff’s Department Crime/Incident Report, Case Number
        15118678, report No. 15118678.1.

                I quote from the report, which appears to be authored by Deputy Carbajal. “At 2221 hours,
        Deputy Krull and Deputy Collins arrived and contacted Lucky Phounsy inside the residence. Lucky was
        the original reporting party who told Sheriff’s Dispatch that he was under the influence of Acid and
        Cocaine.”

                On April 13, 2015, David Csik was a firefighter/paramedic employed by the Lakeside Fire
        Protection District. He related a conversation he had with a woman he believed to be a relative of Mr.
        Phounsy after he arrived at Mr. Phounsy’s home. The deposition states as follows.

        Q. Off the top of your head, do you remember any of the drugs that she said that Mr. Phounsy had
allegedly taken?

        A. Off the top of my head, LSD, ecstasy, marijuana, whip-its and she thought possibly cocaine.

        The dictated History and Physical for Lucky Phounsy which is a part of the medical records from the
Sharp Grossmont Hospital Emergency Department states as follows. “Lucky Phounsy is 32 year old male who
works as an auto mechanic, who has recently been to the Coachella concert, and patient has been using
ecstasy, cocaine, acid and whip-its for the past 2 days, per his wife.” Under PERSONAL HISTORY, the record
states “History of drug abuse and alcohol abuse.”



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        Deputies Marcos Collins and Janae Krull were the first two deputies to respond to Mr. Phounsy’s home
following his call to 911

        Deputy Collins relates in his deposition having had a conversation outside the home before entering
with a male family member (presumably Mr. Kelly). Deputy Collins stated in his deposition that he male said
“Something to the effect that a family member of his had come back from a concert in the desert, Coachella,
and that he was paranoid that people were out to kill him. That wasn’t the case. And that he was high on acid
and cocaine”.

        An exchange between Deputy Collins and an attorney at his deposition (p. 83) went as follows:

    Q. “Okay. So what information did you have to lead you to believe that he was under the influence, other
than what you had heard had been told the people by other people?

    A. When I walked in and he had a paranoid look on his face and was fidgety, couldn’t stand still, wasn’t
complying with my commands. I’ve arrested hundreds of people for being under the influence for, you know
5150 cases, and he was exhibiting some of the signs and symptomology of someone who is under the
influence.

    Q. Such as what?

    A. Profuse sweating, trouble focusing on what I was telling him to do, looking around nervously. All those
things together made me believe he’s possibly under the influence and not following commands”.

    Deputy Janae Krull was asked at her deposition (p. 20-21) : “are there any important facts, facts that you
deem important, about what you did, what you saw, and what you heard during the incident that’s not
included in this report that you think should be added?” She replied: “other than the fact that I don’t think it
covers how animalistic he was acting and the full extent, no, nothing else needs to be added.”

    To the follow-up question “what do you mean by ‘animalistic’?” Deputy Krull replied as follows. “During
the entire incident, he was constantly growling and talking in words that we couldn’t even understand. And I
don’t think that was added throughout the entire report.” Deputy Krull also described seeing a woman she
believed was Mr. Phounsy’s wife as follows. “She was actually holding her child as if she was in fear. It
appeared she was shaking, and she was appearing to shield her child from what was going on.”

    Further on in her deposition, Deputy Krull was asked (p. 70) “prior to that point has Mr. Phounsy in any
way acted aggressively towards you or Deputy Collins?” She replied as follows. “Based on his symptomology,
his excessive sweating, his paranoia, his heavy breathing, his inability to focus, his loud, boisterous activity, we


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believed there were drugs onboard, which can escalate to a violent situation very quickly through my training
and experience.”

        Deputy Krull also described Mr. Phounsy as seemingly being impervious to pain. She found it unusual
that, after being subjected to a TASER, he was able to stand up and throw punches. She describes (p. 209)
striking him with a baton and “he didn’t even turn toward me, didn’t even acknowledge that I was hitting him.”

    Deputies Collins and Krull viewed Mr. Phounsy as a man with significantly altered mental status, by history
having very recently used illegal drugs, and who was potentially dangerous. At the outset of their encounter
with him, the deputies wanted to ensure that Mr. Phounsy was not in possession of a weapon. They thus
attempted to do a manual “pat-down” of Mr. Phounsy in order to detect any potential weapons in his
possession.

    What ensued was a violent altercation. Mr. Phounsy resisted the attempt to pat him down. When the
deputies attempted to handcuff Mr. Phounsy, he struggled with great strength against them. A number of
punches were exchanged between Deputy Collins and Mr. Phounsy. At least one profusely bleeding wound
was opened on Deputy Collins’ head. Deputy Krull struck Mr. Phounsy with a baton. The deputies fired their
TASER weapons at Mr. Phounsy multiple times. Writing in the County of San Diego, Office of the Medical
Examiner, Investigative Report, Lucky Phounsy, the medical examiner investigator, Julio Estrada, stated that
“the decedent was described as having ‘super strength’.” The same report references Sharp Grossmont
Hospital as having provided information that the decedent had a history of drug and alcohol abuse.

    Additional deputies responded to the scene, and eventually Mr. Phounsy was restrained with his hands
bound together behind his back, his feet bound together, and then a further restraint applied attaching hand
and foot restraints together.

    Firefighter/paramedics responded to the scene to care for both Mr. Phounsy and the injured deputies
(Collins and Krull). The firefighter/paramedics transported the deputies to a hospital.

    In his deposition (p. 33), firefighter/paramedic David Csik stated that, shortly after arrival on scene, he
spoke to a woman he believed to be a relative of Mr. Phounsy (“I don’t know if it was a wife or ex-wife – she
was speaking with a female deputy.” During this conversation, Mr. Csik stated that “the family member had
told me that the patient had been up, awake for several days with no sleep. He had taken a number of illicit
drugs.” When asked if he remembered any of the drugs that she said Mr. Phounsy had ingested, he replied
“LSD, ecstasy, marijuana, whip-its and possibly cocaine.”




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        A Pre-Hospital Care Report from the Lakeside/Santee Fire Department was included with documents
attached to Mr. Csik’s deposition. The following is quoted from that report (page 2 of 4). “The patient was
carried by multiple Sheriff Deputies out of the residence, through the garage, and placed onto the driveway.
The patient was on his right side. The patient was in four-point, ‘hogtie’ restraints with his arms and legs
secured behind him. The patient’s positioning and restraints allowed the patient to straighten his abdomen
and chest to take full tidal volume breaths. The patient continued to violently jerk/thrash around, leading
Sheriff Deputies on scene to request that the patient be medicated in order to ensure the safety of Law
Enforcement and Fire Department personnel on scene.” 5 mg Versed was administered IM at approximately
10:39 PM. A second 5 mg dose of Versed was administered intramuscularly at approximately 10:50 PM.

    Mr. Phounsy, after two doses of Versed, was placed on a gurney, on his side, and transported to Sharp
Grossmont Hospital. Initially, he continued to struggle against restraints. On the way to the hospital, however,
he suddenly became still. He was found to be in cardiopulmonary arrest. Advanced cardiac life support
measures were successful in restoring a blood pressure, and Mr. Phounsy was admitted to the intensive care
unit of the hospital. However, it was determined that he had suffered a severe anoxic brain injury. Following a
hospitalization of approximately one week, during which he showed evidence of multi-organ failure and brain
death, Mr. Phounsy succumbed.

    The County of San Diego, Office of the Medical Examiner, performed a full autopsy on Lucky Phounsy.
Additionally, pre-mortem hospital blood, drawn on the night of his admission to Sharp Grossmont Hospital,
was used for forensic toxicology testing.

        The autopsy summary for Mr. Phounsy included (related to his cardiorespiratory arrest with anoxic
encephalopathy) cerebral swelling with herniation and microscopic ischemic changes, resolving recent
myocardial infarction (mitral papillary muscle) and renal tubular necrosis. Unrelated to his cardiorespiratory
arrest with anoxic encephalopathy was atherosclerotic cardiovascular disease in the form of left ventricular
hypertrophy and focal marked cardiac arteriosclerosis.

        The cause of death was ascribed to anoxic encephalopathy, due to, cardiopulmonary arrest with
resuscitation following physical altercation and restraint, due to, stimulant drug-related psychotic state. The
manner of death was an accident.

        An ELISA Drug of Abuse Screen was performed on Mr. Phounsy’s antemortem blood. This was
presumptively positive for cannabinoids (marijuana), and was negative for benzodiazepines, cocaine
metabolites and amphetamines.



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    A Base Screen utilizing GC/MS (Gas Chromatography/Mass Spectrometry) detected etomidate and
diphenhydramine in small amounts in Mr. Phounsy’s antemortem blood.

    Benzodiazepines were searched for in Mr. Phounsy’s antemortem blood using HPLC/DAD (High-
Performance Liquid Chromatography with Diode-Array Detection) and were not detected.

    Testing for amphetamines, utilizing LC/MS (Liquid Chromatography/Mass Spectrometry) detected MDMA
(methylenedioxymethamphetamine), or ecstasy, in trace amounts in Mr. Phounsy’s antemortem blood.

    A Urine Screen, utilizing (Gas Chromatography/Mass Spectrometry), was performed on urine harvested
from Mr. Phounsy (at a time not specified), and detected six pharmaceuticals plus laudanosine, a metabolite of
atracurium, all of which could reasonably be attributed to medical care in an intensive care unit.

    Finally, testing for LSD (commonly called “acid”), utilizing HPLC/MS/MS (High Performance Liquid
Chromatography/Tandem Mass Spectrometry) was performed at NMS laboratories. This detected no LSD in
Mr. Phounsy’s antemortem blood.

                                                    Discussion

        The first topic I was asked to comment upon is the meaning of positive and negative toxicology
findings as reported by the San Diego County Office of the Medical Examiner, following testing of Mr.
Phounsy’s antemortem blood drawn April 13, 2015, and also his urine, harvested at an unknown time.

    The etomidate and diphenhydramine in small amounts in Mr. Phounsy’s antemortem blood are consistent
with hospital administration of etomidate (a short-acting intravenous anesthetic agent), and his history of
ingesting a therapeutic amount of diphenhydramine, respectively.

    The detected MDMA (methylenedioxymethamphetamine), or ecstasy, in trace amounts in Mr. Phounsy’s
antemortem blood, was almost surely due to use of ecstasy. The terminal elimination half-life for ecstasy is
estimated to lie in a range of 5-9 hours (Ref. 1,2). Thus, a significant amount of the drug could have been
ingested by Mr. Phounsy on April 10 and/or 11, and result in only a trace of the drug remaining in plasma by
almost midnight on April 13. Thus, this test result is not inconsistent with MDMA use during the time Mr.
Phounsy was at Coachella.

    LSD was not detected at a concentration above the reporting limit for this drug at NMS Labs. This means
either that LSD was not present in Mr. Phounsy’s plasma, or that it was present, but at a concentration below
which the lab does not report it. The terminal elimination half-life for LSD is estimated to lie in a range of 3-5
hours (Ref. 1, 2) . Thus, a significant amount of the drug could have been ingested by Mr. Phounsy on April 10


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and/or 11, and result in a concentration below the reporting limit on April 13. The result of this test does not
exclude the use of LSD during the time Mr. Phounsy was at Coachella.

    “Whip-its” refer to small (3-3.5 inches tall) cylinders of the anesthetic gas, nitrous oxide. These are sold in
food stores, and are intended to be mixed with cream, under pressure in a larger cylinder, to make whipped
cream. Nitrous oxide is a gas, and would leave the body quickly. It was not tested for by the Medical Examiner
as a part of the postmortem investigation of Mr. Phounsy’s death. The use of nitrous oxide is associated with
an increased risk of cardiovascular complications, including myocardial infarction, for several days after use.

    Cocaine has an extremely short terminal elimination half-life, 0.5-1.5 hours (Ref. 1, 2). For this reason, the
forensic detection of cocaine use focuses on cocaine metabolites, such as ecgonine methyl ester and
benzoylecgonine. Recreational use of cocaine should be detectable as cocaine metabolites in urine or blood
for at least 24-48 hours. No cocaine metabolites were found in the blood of Mr. Phounsy. Deputy Carbajal
stated, with regard to the 911 call placed by Mr. Phounsy on April 13, that Lucky was the original reporting
party who told Sheriff’s Dispatch that he was under the influence of acid and cocaine. Given the subsequent
negative toxicology testing for LSD and cocaine, it was extremely unlikely that this was correct. What is not
excluded, however, is cocaine use on April 10. What is also not excluded is the use of another
sympathomimetic drug on April 13 which may have been believed by Mr. Phounsy to be cocaine or LSD.

    The second aspect of this case which I was asked to comment on the possibility that Mr. Phounsy’s altered
mental status on April 13, 2015 could have been caused by consumption of methcathinone derivatives (“bath
salts”) or other stimulant drugs that were not detected or tested for as suggested by the San Diego County
Office of the Medical Examiner.

    In his autopsy report of Mr. Phounsy, Dr. Steven Campman stated that “it remains possible, however, that
he was still experiencing toxic effects of the MDMA, or of a synthetic cathinone or other stimulant drug that
was not detected or tested for. (There are numerous such “bath salts” and other compounds, with new
formulations being created, such that some are not detected by our methods).”

    At the present time, and in April of 2015, the United States is awash in a flood of ever changing
sympathomimetic (stimulant) drugs of abuse. The worst of these (in terms of causing drug-induced delirium
and extremely violent behavior) are the synthetic cathinone derivatives, or “bath salts”.

    Cathinone is a natural amphetamine-like substance found in the Khat tree of Africa, and is used there
similarly to the mastication of coca leaves in South America. When cathinone is exposed to a methylating
agent, methcathinone results. This substance has been a drug of abuse in Eastern Europe for a long time, but
was seldom seen in the United States until recently.
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     Synthetic cathinones, derivatives of methcathinone, hereafter referred to as “bath salts”, were first seen in
the Unites States in 2010. The early medical literature detailing clinical experience with bath salt drug abuse
(Ref. 3, 4, 5, 6) was limited to 3 compounds – methylone, mephedrone and MDPV. By 2015, the universe of
bath salts included at least 14 compounds (Ref, 7) which had been identified, and probably many more.

     Bath salts are not detected by routine toxicology testing. Commercial analytic methods to detect bath
salts in urine or blood lag, by years, the introduction of new drugs of abuse to the market place. In 2015, it
was highly unlikely that a county medical examiner’s laboratory, or even a national reference laboratory,
would detect many of the bath salts. Yet bath salt use was, and still is, exploding in terms of prevalence.
While many assays have been developed to detect older drugs of abuse such as amphetamines, MDMA and
cocaine, bath salt use even in 2017 goes largely undetected due to the lack of widely available detection
methods.

     Bath salts are extremely troublesome drugs of abuse in terms of their adverse drug effects. Karila and
colleagues (Ref.7) describe the adverse psychiatric effects of synthetic cathinone use as including agitation,
aggression, anxiety, paranoia, paranoid delusion, visual and auditory hallucinations (often in the form of
threatening people) and psychosis. Commonly reported emergency department presentations of bath salt
users are tachycardia, diaphoresis, hypertension, agitation, paranoia, psychosis and serotonin syndrome. (Ref.
8) Other physical effects of bath salts include cerebral edema and myocardial infarction, and common
neuropsychiatric effects include aggression, combative behavior, hallucinations, paranoia and insomnia. (Ref.
8)

         There is a large cross-over between the population of Americans using methamphetamine and/or
MDMA, and those using bath salts. Bath salts have been hailed by some as a “safe alternative” to MDMA, but
are not. A problem for the purchaser/user of illegal drugs is misidentification. Because the chain of supply is
inherently a criminal enterprise, and occurs completely outside of the protection of FDA regulation, the
purchaser never really knows what he/she is buying. A recent example of this was the numbers of deaths
among California users of hydrocodone/acetaminophen in 2016. Purchasers believing they were buying Norco
actually ended up with fentanyl, and extremely potent opioid, and died of opioid overdoses. It is entirely
possible that Mr. Phounsy believed that he was purchasing MDMA, methamphetamine or cocaine, and ended
up with bath salts.

     The syndrome of excited delirium has been reported following the use of bath salts. (Ref. 6) Dr. Campman
raised the issue of Excited Delirium Syndrome in his autopsy report on Mr. Phounsy. He states that “the
decedent showed some of the major features of the Excited Delirium Syndrome, including psychosis, ‘super
strength’ and a sudden cardiorespiratory arrest after struggle and restraint; however, he reportedly did not
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have a high body temperature, did not have an identified toxic concentration of stimulant drugs or a history of
naturally occurring psychosis, and his serum potassium was not low when he got to the hospital.” He then
allowed that it was possible that Mr. Phounsy was experiencing the toxic effects of a stimulant drug not
detected by the methods used by the County of San Diego Medical Examiner.

    Notwithstanding the reservations of Dr. Campman in making a diagnosis of Excited Delirium Syndrome
(ExDS), I believe that there is a very high probability that this is what he experienced. Not all cases of Excited
Delirium Syndrome have hyperthermia. In a series of sixty-cases believed by law enforcement to have had
ExDS, 43 had a subsequent emergency department evaluation. (Ref. 9) Of those, only 3 (7%) were
hyperthermic. The absence of hyperthermia does not exclude the diagnosis of ExDS. I believe that Mr.
Phounsy did not have an “identified toxic concentration of stimulant drugs”, as Dr. Campman put it, because
he ingested something unidentifiable, either bath salts or another drug in the rapidly expanding vast universe
of sympathomimetic (stimulant) drugs. The absence of an identified toxic concentration of stimulant drugs
does not exclude the presence of stimulant drugs, and does not exclude the diagnosis of ExDS. Finally, Mr.
Phounsy’s potassium was measured following a prolonged period of cardiac arrest and shock, with ensuing
profound metabolic acidosis. Metabolic acidosis causes hyperkalemia. Thus, the absence of hypokalemia does
not exclude the diagnosis of ExDS.

    The author of a review article on the Excited Delirium Syndrome (Ref, 10) states that “the excited delirium
syndrome (EDS) is a life- threatening condition caused by a variety of factors including drug intoxication and
psychiatric illness.” “Excited delirium may include paranoid, aggressive and incoherent behavior which may
lead to an encounter with law enforcement.” In another review on the Excited Delirium Syndrome (Ref. 11),
the authors state “excited (or agitated) delirium is characterized by agitation, aggression, acute distress and
sudden death, often in the pre-hospital care setting.” “It is typically associated with the use of drugs that alter
dopamine processing, hyperthermia, and most notably, sometimes with death of the affected person in the
custody of law enforcement.” Further, “all accounts describe almost the exact same sequence of events:
delirium with agitation (fear, panic, shouting, violence and hyperactivity), sudden cessation of struggle,
respiratory arrest and death.” “The presentation of excited delirium occurs with a sudden onset, with
symptoms of bizarre and/or aggressive behavior, shouting, paranoia, panic violence toward others,
unexpected physical strength and hyperthermia.” Absent only hyperthermia, this is exactly the clinical picture
surrounding Mr. Phounsy’s cardiac arrest, with death delayed only by advanced medical care.

    The authors of this study address two further circumstances of Mr. Phounsy’s fatal evening. “Since the
victims dies in police custody, the most widely publicized proposed causes of death in EXD are taser use and
positional asphyxia.” The authors go on to express their doubts regarding the validity of these proposed

                                                        11
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causes of death. “No study thus far has been able to demonstrate a causal relationship between Taser use
and subsequent individual’s deaths.” And, “the positional asphyxia theory has been refuted by a series of
articles by Chan et al exploring the effect of PRMP (prone maximal restraint position) on ventilatory capacity
and arterial blood gases.” In other words, in experimental conditions aiming to replicate the effect of prone
restraint, no significant impact on ventilation has been demonstrated.

    The third aspect of this case which you asked me to comment on is any possible causal relationship
between Mr. Phounsy’s reported history of drug abuse and his cardiopulmonary arrest on April 13, 2015.

    The use of stimulant drugs, whether with amphetamine, methamphetamine, ecstasy, bath salts, cocaine,
or the many other illegal stimulant drugs available in the marketplace of 2015 or today, is highly deleterious to
the heart. The neurotransmitters norepinephrine, dopamine, epinephrine and serotonin all have as their
natural “off-signal” the transport of the transmitters back into cells. There are specific transporters which
move these agents back into cells, thus ending their effect. The stimulant drugs referred to above block the
transporters, resulting in profound and prolonged exaggerated effect of the transmitters. Among the adverse
consequences of this protracted catecholamine neurotransmitter state are increased vascular resistance,
making it harder for the heart to push blood forward, increased oxygen demand on the heart muscle,
decreased oxygen supply to the heart and acute injury to heart muscle.

    In an article examining the pathogenesis of drug induced excited delirium, restraints and unexpected
death, the authors state the following. (Ref. 12) “Patients with excited delirium have significant sympathetic
stress related to physical exertion, the use of restraints, drug intoxication and possibly underlying psychiatric
disease. Some of these patients die unexpectedly, and the autopsy is relatively uninformative. We speculate
that these patients have stress cardiomyopathy similar to tako-tsubo cardiomyopathy, secondary to
pronounced catecholamine effect on cardiomyocytes or on the coronary microvasculature. These patients
have profound left ventricular dysfunction and experience either cardiac arrest or sustained cardiac
dysfunction with hypotension.”

                                               Concluding discussion.

        While some of the events which occurred in the final days of the life of Mr. Lucky Phounsy remain
unknown, the many facts which are known allow reasonable conclusions as to what conspired to cause his
death. I believe the cause and manner of death reached by the County of San Diego, Office of the Medical
Examiner are correct, as far as they go. The ultimate cause of Mr. Phounsy’s cardiorespiratory arrest and
subsequent fatal anoxic brain injury is actually the ultimate cause of his death. I believe that this lies in his
stimulant drug use, possibly contributed to by use of nitrous oxide (whit-its).

                                                         12
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        It is known that Mr. Phounsy attended the 2015 Coachella Valley Music and Arts Festival, where his
wife believed that he abused drugs, and where drug abuse was rampant. Mr. Phounsy had a history of drug
abuse. His antemortem blood, drawn very shortly after his cardiopulmonary arrest, documented the presence
of ecstasy, or MDMA, and marijuana. Per the account of Mr. Kelly, Mr. Phounsy had a relatively normal day
Monday, April 13, while at home the day after the festival ended. But then something changed abruptly in Mr.
Phounsy’s mental status. He became agitated, confused, combative, paranoid, and ultimately, violent. He
called 911 believing that someone was trying to kill him, and reported using what he believed was cocaine and
acid. The sudden change in his mental status was dramatic, and occurred in the same period that he
admitted being under the influence of a drug. Almost surely, his altered state was due to drug use, but not the
cocaine and acid which he believed that he took. This drug use appears to have occurred in the afternoon of
April 13, 2015.




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                                                 Conclusions

  1. I agree with the San Diego County Office of Medical Examiner that Mr. Phounsy died an accidental
      death caused by an anoxic brain injury secondary to cardio-pulmonary arrest.
  2. I believe that, to a high degree of medical probability, Mr. Phounsy’s condition on the night of April 13,
      2015, and the cause of his cardio-pulmonary arrest, was Excited Delirium Syndrome, itself caused by
      stimulant drug use, both at Coachella, and at home on the afternoon of April 13, 2015.
  3. The combination of an Excited Delirium Syndrome in the absence of specific toxicologic confirmation
      by the medical examiner is not an uncommon event in the era of bath salts and a myriad of other
      stimulant drugs of abuse. I believe that, to a high degree of medical probability, Mr. Phounsy ingested
      either a bath salt, or another of the stimulant drugs of abuse which are often not detected in modern
      forensic toxicologic analysis, on the afternoon of April 13, 2017.
  4. The person going through an Excited Delirium Syndrome secondary to stimulant drug abuse represents
      not only a true medical emergency, but an individual who is a great danger to themselves, family
      members, and EMS and law enforcement personnel.
  5. Virtually all authorities writing on the treatment of acute stimulant drug abuse, and Excited Delirium
      Syndrome, advocate the use of benzodiazepine therapy, and its use by the firefighter/paramedics who
      treated Mr. Phounsy was entirely appropriate.
  6. I believe that, to a high degree of medical probability, had Mr. Phounsy not abused stimulant drugs up
      to, and including, the evening of his cardio-pulmonary arrest, the catastrophic event would not have
      occurred, and Mr. Phounsy would not have died.




  I declare under penalty of perjury that the foregoing is true.

  Signed this day in Fresno, California.                                   .




                                                                           .

  Richard J. Geller, MD, MPH, MS




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                                                    Conclusions


    1.   I agree with the San Diego County Office of Medical Examiner that Mr. Phounsy died an accidental

         death caused by an anoxic brain injury secondary to cardio-pulmonary arrest.

    2.   I believe that, to a high degree of medical probability, Mr. Phounsy's condition on the night of April 13,

         2015, and the cause of his cardio-pulmonary arrest, was Excited Delirium Syndrome, itself caused by

         stimulant drug use, both at Coachella, and at home on the afternoon of April 13, 2015 .

    3.   The combination of an Excited Delirium Syndrome in the absence of specific toxicologic confirmation

         by the medical examiner is not an uncommon event in the era of bath salts and a myriad of other

         stimulant drugs of abuse. I believe that, to a high degree of medical probability, Mr. Phounsy ingested

         either a bath salt, or another of the stimulant drugs of abuse which are often not detected in modern

         forensic toxicologic analysis, on the afternoon of April 13, 2017.

    4.   The person going through an Excited Delirium Syndrome secondary to stimulant drug abuse represents

         not only a true medical emergency, but an individual who is a great danger to themselves, family

         members, and EMS and law enforcement personnel.

    5.   Virtually all authorities writing on the treatment of acute stimulant drug abuse, and Excited Delirium

         Syndrome, advocate the use of benzodiazepine therapy, and its use by the firefighter/paramedics who

         treated Mr. Phounsy was entirely appropriate .

    6.   I believe that, to a high degree of medical probability, had Mr. Phounsy not abused stimulant drugs up

         to, and including, the evening of his cardio-pulmonary arrest, the catastrophic event would not have

         occurred, and Mr. Phounsy would not have died .




    I declare under penalty of perjury that the foregoing is true.

   Signed this day in Fresno, California .   V"<'\CA.') d-.d-.. \ d-t) '-"'"'l




   Richard J. Geller, MD, MPH, MS




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               EXHIBIT “B”
 Case 3:15-cv-02692-H-MDD Document 281 Filed 01/25/21 PageID.8917 Page 30 of 84




                                  (!Countp of ~an flBiego                                                JONATHAN R. LUCAS, M.D.
 GLENN N. WAGNER, D.O.
CHIEF MEDICAL EXAMINER                                                                               CHIEF DEPUTY MEDICAL EXAMINER
                                          OFFICE OF THE MEDICAL EXAMINER
                                5570 OVERLAND AVE., SUITE 101, SAN DIEGO, CALIFORNIA 92123-1206
                                           TEL: (858) 694-2895 FAX: (858) 495-5956


                                                   AUTOPSY REPORT


  Name:                        LUCKY PHOUNSY                                                      ME#:    15-0926

  Place of death:              Sharp Grossmont Hospital                                           Age:    32 Years
                               La Mesa, CA 91942
                                                                                                  Sex:    Male
  Date of death:               April 20, 2015; 1932 Hours

  Date of autopsy:             April 23, 2015; 0931 Hours


      CAUSE OF DEATH:                   ANOXIC ENCEPHALOPATHY

                    Due To:             CARDIOPULMONARY ARREST WITH RESUSCITATION
                                        FOLLOWING PHYSICAL ALTERCATION AND RESTRAINT

                    Due To:             STIMULANT DRUG-RELATED PSYCHOTIC STATE

               Contributing:            CARDIAC ARTERIOLOSCLEROSIS

       MANNER OF DEATH:                 ACCIDENT

      AUTOPSY SUMMARY:

       I.      History of cardiorespiratory arrest with anoxic encephalopathy.
               A.     Cerebral swelling with herniation and microscopic ischemic changes.
               B.     Resolving, recent myocardial infarct, mitral papillary muscle.
               C.     Renal tubular necrosis.

       II.     Arteriosclerotic cardiovascular disease.
               A.     Left ventricular myocardial hypertrophy.
               B.     Focal marked cardiac arteriolosclerosis.

       Il l.   Multiple healing abrasions and contusions of the face, scalp, torso, and upper and
               lower extremities (including wrist, ankle and lower torso injuries consistent with
               restraint).

       IV.     Cutaneous injuries of the back consistent with conducted energy weapon


                                                                                                               EXHIBIT _:1:___
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                                                                                                              Kathleen Mclaughlin, CSR No. 5845
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   AUTOPSY REPORT                               -3-                  LUCKY PHOUNSY 15-0926



   decreased significantly" and he became pulseless and apneic and at 11 :09 p.m. CPR was
   started and his restraints loosened or removed. Resuscitation continued upon arrival at the
   hospital at 11: 15 p.m . until a pulse was obtained at 11 :23 p.m.. Medics described his body
   as being "warm", but the first reported temperature in the hospital was 36.6°C (he was also
   described as being "afebrile" on initial evaluation in the emergency room). His serum
   potassium concentration was 6.6 mmol/L, and he was treated for that high potassium
   concentration, as well as ventilated, and his body temperature was lowered (not for fever
   but to improve potential neurologic outcome after his cardiac arrest). His toxicology screen
   at the hospital was positive only for cannabis, and negative for cocaine, amphetamine, and
   benzodiazepines (including midazolam), barbiturates, oxycodone, opiates, PCP, and
   alcohol. He was found to have experienced anoxic brain injury and he developed
   rhabdomyolysis, acute kidney failure, and "shock liver". He was declared brain dead on
   April 20 and 21, and later underwent organ/tissue donation.

   An autopsy was performed and documented multiple body surface injuries of his head ,
   torso, and extremities, including marks of his wrists consistent with handcuffs, and ankles,
   and waist areas consistent with the hobble restraint. He also had skin injuries of his back
   consistent with application of a conducted energy weapon, infarct of the anterior papillary
   muscle of his heart (dating several days before death, and consistent with the day of his
   cardiac arrest and closer to his death), and had brain swelling, and ischemic changes of his
   kidneys, but no fatal injuries were present. Pre-existing the time of the incident, he had
   focally marked cardiac arteriolosclerosis, and left ventricular myocardial hypertrophy.
   Toxicology studies performed on blood collected from him at the hospital at 11 :36 p.m. on
   April 13 were positive for diphenhydramine (<0.20 mg/L), and MDMA ("ecstasy", trace),
   and etomidate was also detected; but other base drugs and LSD were not detected, and a
   screening panel of some synthetic cathinones ("bath salts") was negative. A screening test
   performed on blood collected from him at 11 :20 p.m., the same date, was presumptive
   positive for cannabinoids, but no other common drugs of abuse were detected. Another
   toxicology screen performed on urine collected from his urinary catheter receptacle at
   autopsy detected levetiracetam, acetaminophen, lidocaine, metoprolol, fluconazole,
   metoclopramide and laudanosine (likely administered during his hospitalization or before
   organ procurement).

   The decedent showed some of the major features of the Excited Delirium Syndrome,
   including psychosis, "super strength" and a sudden cardiorespiratory arrest after a struggle
   and restraint; however, he reportedly did not have a high body temperature, did not have
   an identified toxic concentration of stimulant drugs or a history of a naturally occurring
   psychosis, and his serum potassium concentration was not low when he got to the
   hospital. It remains possible, however, that he was still experiencing toxic effects of the
   MDMA or of a synthetic cathinone or other stimulant drug that was not detected or tested
   for (there are numerous such "bath salts" and other compounds, with new formulations
   being created, such that some are not detected by our methods). It does not appear that
   injuries from the altercation with police or the restraint itself were the cause of his arrest
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               EXHIBIT “C”
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                        K.J.P., et al., v. COUNTY OF SAN DIEGO, et al.,
                                   Case No. l 5-cv-2692-H-MDD

                                      Expert Witness Report
                                               of
                                   Jerry Thrush, MD, FAAEM

                                            May 12, 2017



     I. Introduction

            a. Purpose of Report

     I have been retained by the Singleton Law Finn for purposes of evaluating the records
     and formulating expert opinions regarding the events surrounding Lucky Phounsy's
     cardiorespiratory arrest on 4/ 13/2015 and ultimate declaration of brain death on
     4/20/2015.

            b. Qualifications of Expert

     I am a Doctor of Medicine licensed to practice medicine in the State of California and a
     board certified specialist in emergency medicine by the American Board of Emergency
     Medicine. I am a graduate of Stanford University School of Medicine and residency
     trained in the specialty of emergency medicine. I have been board certified in emergency
     medicine for approximately twenty-four years. I am in active practice at an acute care
     facility that is a Level 2 Trauma Center in California. Before medical school I was trained
     and certified as an EMT here in San Diego at Miramar College, and I have served as the
     Director of EMS (Emergency Medical Services) at Loma Linda University Medical
     Center, a level I Trauma Center, and have served as the medical director of LifeCare
     Medical Transportation. A true and correct copy of my Curriculum Vitae is attached
     hereto as Exhibit 1.

     As a specialist in emergency medicine I am familiar with the clinical management of
     agitated patients, psychiatric emergencies, use of restraints, airway and respiratory
     management in emergency situations, management of patients with drug and alcohol
     intoxication, overdoset and cardiac arrest and resuscitation, as well as of standard of care
     as it applies to prehospital providers and emergency physicians. I am qualified to render
     opinions in this regard.
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           infarct may have been underlying heart disease. If this would have been a primary
           cause of death, medically l would have expected fulminant heart failure with fluid
           build up in the lung because of heart valve failure. That did not occur. To
           summarize, in all reasonable medical probability this small focal infarct did not
           cause the cardiorespiratory arrest in this case.

           My opinion on renal tubular necrosis: This is evidence under the microscope of
           the acute kidney injwy sustained by Mr. Phounsy. In layman's terms - this is
           evidence seen under the microscope, that kidneys were severely hurt because of
           being without oxygen for a prolonged period.

           My opinion on atberosclerotic cardiovascular disease, left ventricular
           myocardial hypertrophy and focal marked cardiac arteriosclerosis: This is
           evidence of blood vessel disease and heart dysfunction caused by build up of
           plaque inside the heart arteries, which is not unusual even in someone of Mr.
           Phounsy's age. In layman's terms, Mr. Phounsy had some buildup of deposits
           inside his heart arteries that likely caused the left side to become enlarged. This
           could have been related to factors such as his heredity, high blood pressure, diet
           or drug use, but was definitely present before this event, and likely was a
           contributor to his death but not a primary cause.

           My opinion on multiple healing abrasions and contusions: This finding of
           abrasions and contusions was extensively chronicled from page 7 - l O of the
           autopsy report. In layman's terms there was significant evidence of traumatic
           injury (scrapes, cuts, bruises etc.) that took more than two pages of a thirteen-page
           autopsy report to describe. My opinion is that this is consistent with a detailed
           report of the traumatic injuries that Mr. Phounsy sustained.

           My opinion on cutaneous injuries of the back consistent with conducted
           energy weapon: This shows findings consistent with being tased. My opinion is
           that this demonstrates proof that Mr. Phounsy was shot with a Taser weapon in
           probe mode.

           My opinion on temperature on arrival: Dr. Campman also indicates that the
           patient was "afebrile on arrival." While this is technically correct, shortly after
           arrival hospital records pagel 296/1848 at 23:51 on 4/13/2015 Mr. Phounsy's
           temperature is recorded at 38. l . My opinion is that temperature was elevated and
           in this clinical context a part of muscular activity from struggle with
           superimposed finding consistent with excited delirium.

           My opinion on midazolam (Versed) intoxication: Dr. Campman indicates that
           Mr. Phounsy "did not have signs ofbenzodiazepine toxicity, and did not have
           toxic concentrations of midazolam [Versed] in his blood collected shortly after his
           sudden arrest." My opinion is that in all reasonable medical probability Mr.
           Phounsy did not die because of the injection of Versed. See my previous
           statements on Versed elsewhere in this document.


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              EXHIBIT “D”
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                   Transcript of Loan Nguyen
                        Thursday, January 14, 2021

                    K.J.P., a minor v. County of San Diego




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                              Reference Number: 98084
Loan Nguyen                                                               1/14/2021
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  1                          IN THE UNITED STATES DISTRICT

  2                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA

  3

  4

  5   K.J.P., a minor, et al.,             )
                                                  )
  6                     Plaintiff,                )
                                                  )
  7         vs.                                   )Case No. 15-cv-2692-H-MDD
                                                  )
  8   COUNTY OF SAN DIEGO, et al.,         )
                                                  )
  9                     Defendants.               )
                                                  )
 10

 11

 12

 13

 14                                   COMPLETELY VIDEO

 15                            DEPOSITION OF LOAN NGUYEN

 16                                       CALIFORNIA

 17                            THURSDAY, JANUARY 14, 2021

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 24   Reported by:
      LAURA A. RUTHERFORD, RPR
 25   CSR No. 9266
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  1               Q.    BY MR. LENERT:        But part of your conversation

  2   was that Lucky had use drugs at the concert.             Isn't that

  3   was you said?

  4               A.    Yes.    Yes.

  5                     THE REPORTER:       I'm sorry.     What was the

  6   objection?

  7                     MR. MC BRIDE:       Lacks foundation.     Calls for

  8   speculation.     Argumentative.

  9                     THE REPORTER:       Thank you.

 10                     Answer?

 11                     THE WITNESS:       I told Greg the two drugs that

 12   Lucky told me that he did at Coachella.

 13               Q.    BY MR. LENERT:        Were you telling Greg about

 14   this drug use because you thought that could be one of the

 15   reasons that Lucky couldn't sleep?

 16                     MR. MC BRIDE:       Objection.     Calls for

 17   speculation.     Lacks foundation.        Calls for expert opinion.

 18   Argumentative.     And vague and ambiguous.

 19               Q.    BY MR. LENERT:        Given those objections, were

 20   you telling Greg about Lucky's drug use because you

 21   believed it could be contributing to Lucky's inability to

 22   sleep?

 23                     MR. MC BRIDE:       Same objections.

 24                     THE WITNESS:       Yes.

 25               Q.    BY MR. LENERT:        And I want to understand.      In

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  1   paramedics was next.        And then what else?       I think at the

  2   hospital.    And I can't think -- I can't remember off the

  3   top of my head who else.

  4               Q.     So in any of these interactions when you were

  5   discussing Lucky's possible drug use, you may have given a

  6   list of drugs?

  7               A.     Yes.    I named every drug that I could think

  8   of just to be safe.

  9               Q.     Because you knew Lucky had taken some drugs?

 10                      MR. MC BRIDE:       Argumentative.    Lacks

 11   foundation.      Calls for speculation.

 12               Q.     BY MR. LENERT:        Is that because you knew that

 13   Lucky had taken some drugs?

 14                      MR. MC BRIDE:       Same objections.

 15                      THE WITNESS:       Lucky had told me that he took

 16   ecstasy and acid.

 17               Q.     BY MR. LENERT:        But you had a concern that he

 18   had taken different drugs?

 19                      MR. MC BRIDE:       Objection.     Argumentative,

 20   misstates testimony.

 21                      Go ahead.

 22                      THE WITNESS:       I just listed everything I can

 23   think of just because I wanted to protect him just in

 24   case.

 25               Q.     BY MR. LENERT:        When Lucky told you he had

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  1   used marijuana and ecstasy, did you believe him?

  2                      MR. MC BRIDE:     Objection.      Misstates

  3   testimony.

  4                      Go ahead.

  5                      And asked and answered.

  6                      THE WITNESS:     When you -- can you word -- can

  7   you repeat that question, because you said marijuana and

  8   ecstasy.    Lucky told me he took -- he did marijuana -- I

  9   mean, he did ecstasy and acid.

 10               Q.     BY MR. LENERT:      I apologize.     I do not want

 11   to say your testimony differently when I repeat it.              I

 12   appreciate that.

 13                      When Lucky told you he had taken ecstasy and

 14   acid, did you believe him that he had taken ecstasy and

 15   acid?

 16                      MR. MC BRIDE:     Objection.      Calls for

 17   speculation.      Lacks foundation.      Argumentative.

 18                      Go ahead.

 19                      THE WITNESS:     I didn't go to Coachella with

 20   almost him.      I didn't see him take it.          And what he told

 21   me is what he told me is that.          So I just took it for

 22   that.

 23               Q.     BY MR. LENERT:      From all of your interactions

 24   with Lucky, did you have a concern that he had taken other

 25   drugs other than ecstasy and acid?

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Loan Nguyen                                                               1/14/2021
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  1   to whether this was communicated in person, on the phone,

  2   or in a text message?

  3                     MR. MC BRIDE:      Objection.      Confusing.

  4                     THE WITNESS:      It's been almost six years.         I

  5   can't think -- I can't remember off the top of my head.                I

  6   can't remember.

  7               Q.    BY MR. LENERT:       Do you remember why Sikone

  8   left of the house with her kids on Monday?

  9                     MR. MC BRIDE:      Objection.      Assumes facts.

 10   Argumentative.     Calls for speculation.           Beyond the scope

 11   of this deposition.

 12                     Don't answer.

 13               Q.    BY MR. LENERT:       One of the paramedics that

 14   arrived to take care of Lucky on Monday night was

 15   paramedic Sisk (phonetic).         Do you remember talking to

 16   him?

 17               A.    I remember talking to paramedics, but I don't

 18   remember his name.

 19               Q.    To a paramedic that had responded, you

 20   conveyed that Lucky had taken LSD, ecstasy, marijuana,

 21   whippets and possibly cocaine.

 22                     Does that sound like what you told him?

 23                     MR. MC BRIDE:      Objection.      Assumes facts.

 24   Argumentative.     Misstates testimony.         Asked and answered.

 25                     Go ahead.

                                www.trustpoint.one                      800.FOR.DEPO
                              www.aldersonreporting.com                  (800.367.3376)
Loan Nguyen                                                               1/14/2021
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                                                                             84 90


  1                      THE WITNESS:     I listed every drug that I

  2   could think of just, because I did not want them to give

  3   Lucky something, and it's just to be safe.           That was the

  4   only reason why I listed all of that.

  5               Q.     BY MR. LENERT:      At that time, did you feel it

  6   was a possibility that he could have had any of those

  7   drugs in his system?

  8                      MR. MC BRIDE:     Objection.     Argumentative.

  9   Calls for speculation.       Calls for expert opinion.       Lacks

 10   foundation.      Vague and ambiguous as to "possibility."

 11                      MR. LENERT:     Ms. Court Reporter, can you

 12   reread the question?

 13                      THE REPORTER:     "At that time, did you feel it

 14   was a possibility that he could have had any of those

 15   drugs in his system?"

 16                      THE WITNESS:     I listed every drugs that I can

 17   think of just, because I don't -- did not want them to

 18   give him something else that would give him a reverse

 19   reaction.    And that was the only reason why I listed

 20   everything.

 21               Q.     BY MR. LENERT:      I don't know that that

 22   answers the question that I asked, though, Ms. Nguyen.

 23   Let me ask have the Court Reporter ask it one more time.

 24                      Can you please restate that again?

 25                      THE REPORTER:     Question was, "At that time,

                                www.trustpoint.one                    800.FOR.DEPO
                              www.aldersonreporting.com                (800.367.3376)
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               EXHIBIT “E”
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                       Transcript of the Testimony of:

                                  Greg Kelley
                                                K.J.P.

                                                  v.

                                 County of San Diego

                                     May 25, 2017

                                           Volume I




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         Greg Kelley                                                             May 25, 2017

   ·1· · · · · · · · UNITED STATES DISTRICT COURT

   ·2· · · · · · · · SOUTHERN DISTRICT OF CALIFORNIA

   ·3·   ·   ·   ·   ___________________________________
   · ·   ·   ·   ·   K.J.P., a minor, and K.P.P., a· · ·)
   ·4·   ·   ·   ·   minor, individually, by and through)
   · ·   ·   ·   ·   their mother, LOAN THI MINH NGUYEN,)
   ·5·   ·   ·   ·   who also sues individually and as· )
   · ·   ·   ·   ·   successor in interest to her now· ·)
   ·6·   ·   ·   ·   deceased husband, Lucky Phounsy,· ·)
   · ·   ·   ·   ·   and KIMBERLY NANG CHANTHAPHANH,· · )
   ·7·   ·   ·   ·   individually,· · · · · · · · · · · )
   · ·   ·   ·   ·   · · · · · · · · · · · · · · · · · ·)
   ·8·   ·   ·   ·   · · · · · · · ·Plaintiffs,· · · · ·) Case No.
   · ·   ·   ·   ·   · · · · · · · · · · · · · · · · · ·) 15-cv-02692-
   ·9·   ·   ·   ·   · · · · · · · ·-vs-· · · · · · · · ) H-MDD
   · ·   ·   ·   ·   · · · · · · · · · · · · · · · · · ·)
   10·   ·   ·   ·   COUNTY OF SAN DIEGO; San Diego· · ·)
   · ·   ·   ·   ·   Sheriff WILLIAM GORE; RICHARD· · · )
   11·   ·   ·   ·   FISCHER; KEVIN RALPH; MARCOS· · · ·)
   · ·   ·   ·   ·   COLLINGS; JANAE KRULL; SANDRA· · · )
   12·   ·   ·   ·   (JANET) CARBAJAL; BILLY TENNISION, )
   · ·   ·   ·   ·   III; DEAN ALLEN; MICHAEL LEE;· · · )
   13·   ·   ·   ·   JENNY MARTINSON; TAMANI PUGH;· · · )
   · ·   ·   ·   ·   AARON BROOKE; JOVONNI SILVA; CITY· )
   14·   ·   ·   ·   OF SANTEE; AARON BAGLEY; AARON· · ·)
   · ·   ·   ·   ·   HACKETT; AARON DO; ADAM DANIELS;· ·)
   15·   ·   ·   ·   DANIEL NEOW; LAKESIDE FIRE· · · · ·)
   · ·   ·   ·   ·   PROTECTION DISTRICT; MARC POYNTER; )
   16·   ·   ·   ·   DAVID CISIK,· · · · · · · · · · · ·)
   · ·   ·   ·   ·   · · · · · · · · · · · · · · · · · ·)
   17·   ·   ·   ·   · · · · · · · ·Defendants.· · · · ·)
   · ·   ·   ·   ·   ___________________________________)
   18·   ·   ·   ·   · · · · · ·DEPOSITION OF GREG KELLEY

   19· · · · · · · · · · THURSDAY, MAY 25, 2017

   20· · · · · · · · · · · · · ·9:14 A.M.

   21· · · · · · · · ·462 STEVENS AVENUE, SUITE 201

   22· · · · · · · · · ·SOLANA BEACH, CALIFORNIA

   23· ·REPORTED BY:

   24· ·DEBERA ANNE DORAN

   25· ·CSR NO. 7821


                                                                                         Page 1
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       Greg Kelley                                                         May 25, 2017

   ·1· · · · · · A· · There may have been someone standing there,
   ·2· · but she was talking directly to me to tell me what's
   ·3· · going on.
   ·4· · · · · · Q· · And what did Loan say?
   ·5· · · · · · A· · She said that Lucky's having paranoid
   ·6· · thoughts, that he's getting paranoid.
   ·7· · · · · · Q· · What else did she say?
   ·8· · · · · · A· · She told me that when he was at Coachella,
   ·9· · that she had heard that he had taken cocaine and acid.
   10· · · · · · Q· · Did she say where she heard that from?
   11· · · · · · A· · No, she didn't say.
   12· · · · · · Q· · She said Lucky told her.· Right?
   13· · · · · · · · ·MR. McBRIDE:· Objection.
   14· · · · · · · · ·THE WITNESS:· At that time I don't know if
   15· · she -- at that time she was bringing me up to speed.                        I
   16· · don't think she got into details like where she heard
   17· · things.· She was just telling me what was going on.
   18· · · · · · · · ·MR. McBRIDE:· Can I put that objection on?
   19· · · · · · · · ·MR. OSTERBERG:· Oh, sure, go ahead.
   20· · · · · · · · ·MR. McBRIDE:· Argumentative and assumes
   21· · facts.
   22· · BY MR. OSTERBERG:
   23· · · · · · Q· · So if I heard you correctly, Loan told you
   24· · during this conversation in the kitchen that Lucky was
   25· · showing signs of paranoia and that he had done cocaine


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       Greg Kelley                                                         May 25, 2017

   ·1· · · · · · Q· · Did you talk to him when you saw this
   ·2· · happen?
   ·3· · · · · · A· · Yeah.· I asked him:· Lucky, what's going on?
   ·4· · · · · · Q· · Did he respond?
   ·5· · · · · · A· · He might have responded like he thought he
   ·6· · heard something or -- I don't remember what his response
   ·7· · was.· But he responded, but I don't remember what he
   ·8· · said.
   ·9· · · · · · Q· · Okay.· And what period of time did you
   10· · notice this conduct over?
   11· · · · · · A· · Shortly after I got back, I would say over a
   12· · half hour, maybe an hour.
   13· · · · · · Q· · Did he appear more animated?
   14· · · · · · A· · Yes.
   15· · · · · · Q· · Did he appear agitated?
   16· · · · · · A· · What do you mean by "agitated"?
   17· · · · · · Q· · Did he appear to be upset?
   18· · · · · · A· · Yeah, he was like nervous, I would say.· He
   19· · appeared to be nervous.
   20· · · · · · Q· · Did you ever tell Lucky that he was acting
   21· · and feeling this way because of the drugs that he took?
   22· · · · · · A· · I don't remember.
   23· · · · · · Q· · Do you remember telling anybody that you
   24· · said that?
   25· · · · · · A· · I do remember telling somebody that I said


                                                                                   Page 54
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       Greg Kelley                                                         May 25, 2017

   ·1· · that.
   ·2· · · · · · Q· · Who did you tell?
   ·3· · · · · · A· · I believe I had told someone, the detective
   ·4· · came over or something.
   ·5· · · · · · Q· · Did you review anything in preparation for
   ·6· · your deposition today?
   ·7· · · · · · A· · Yes.
   ·8· · · · · · Q· · What did you review?
   ·9· · · · · · A· · I reviewed the --
   10· · · · · · · · ·MR. McBRIDE:· Wait.· Hold on.· Objection.
   11· · · · · · · · ·Other than anything that is protected by
   12· · attorney/client privilege and attorney work product, so
   13· · other than anything I had you create, you can go ahead
   14· · and answer.
   15· · · · · · · · ·THE WITNESS:· Okay.· I reviewed police
   16· · reports, the 911 call, and the detective that came the
   17· · following day and took our statements, took our -- talked
   18· · to us, and the recording that we didn't know about during
   19· · that time, for Loan and myself.· And very briefly a
   20· · medical exam report.· And pictures that we had that Brody
   21· · gave us for the hallway, not outside.
   22· · BY MR. OSTERBERG:
   23· · · · · · Q· · Okay.· You reviewed all those things to
   24· · prepare for your deposition?
   25· · · · · · A· · I wouldn't say I read them.· I scanned them.


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       Greg Kelley                                                         May 25, 2017

   ·1· · · · · · · · ·I was walking back through the garage, and I
   ·2· · heard something where they were -- I came to
   ·3· · understand -- I don't know exactly what I heard -- that
   ·4· · he had called 911 while I was getting the car seat.
   ·5· · · · · · Q· · What did you do when you heard Lucky had
   ·6· · called 911?
   ·7· · · · · · A· · I set the car seat down on the treadmill,
   ·8· · the base.· And they were in there -- I could hear the
   ·9· · person on the phone asking, you know, what's going on?
   10· · And I asked:· Give me the phone.
   11· · · · · · · · ·And so I was handed the phone.· And I talked
   12· · to the 911 lady.
   13· · · · · · Q· · Okay.· Do you remember anything you told the
   14· · 911 operator?
   15· · · · · · A· · I remember I wanted to tell everything.                       I
   16· · told her that -- that Lucky had done drugs.· I told her
   17· · that I think that he is not -- hasn't done drugs
   18· · recently, but that he had -- had done them while he was
   19· · at Coachella, and that he was acting paranoid and we were
   20· · trying to get him to a hospital, and that he had called
   21· · 911.· He called them.· And then he wanted their help.
   22· · · · · · Q· · Okay.· Do you remember anything the
   23· · dispatcher said to you?
   24· · · · · · A· · Yes.· She asked me for names, address.· She
   25· · asked me if there was weapons.· I said no.· And I think


                                                                                   Page 66
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               EXHIBIT “F”
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                                                                                                                             CSD00163
                                  Background Event Chronology

Event Number: E2445548



Date       Time         Term    Opentor   Action
04/13/15   22:13:25     phOl    103027    EVENTCREATED: [LOCATION] 8538 HOLDEN RD [AREA] SANT / PROSPECT AV [RP
                                          NAME] T-MOBILE
                                             (877)653-7911 [RP ADDRESS] S/A [SOURCE] ANVALI [RI’ PHONE) (619)372-3522,
                                          TBPAGE:
                                              1251 ,TBGRID:A1
                                           Agenc SHERIFF Dispatch Group: SNTD Beat: SIP, Status P Priority: 4 0, Hold
                                             Type 0, Current F, Open Current= F Event: 11550- UNDER THE INFLUENCE OF
                                          DRUGS [4]
04/13/15   22:13:25     1101    103027     COMMENT ADDED: ** LOI search completed at 04/13/15 22:13:25
04/13/15   22:13:25     phOl    103027      W91 1 32.85446400-116.993215 ....RP ADV SOMEONE TRYING TO KILL HIM NOW HAVE
                                                                                                           ...


                                            ANOTFIER MALE SAYING ORIGrNAL RP IS 115 ON DRUGS
04/13/15   22:13:37     phOl    103027    EVENT UPDATED: [LOCATION] 8538 HOLDEN RD [AREAJ SANT/PROSPECTAV [RP
                                          NAME] LUCKY [RP
                                             ADDRESS] S/A [SOURCE] ANUALI [RP PHONE] (619)372-3522, TBPAGE: 1251,
                                          TRORID: Al
                                           Agency= SHERIFF Dispatch Group: SNTh Beat: SIP, Status A Priority: 4 0, Hold
                                             Type= 0, Current= F, Open Current= F Event: 11550 UNDER THE INFLUENCE OF
                                                                                         -




                                          DRUGS [4]
04/13/15   22:13:40     phOl    103027     COMMENTADDED:.
04/13/15   22:14:12     sntd    105103     [UNIT] 51 P7C DP, Location 8538 HOLDEN RD SANT, 100072
04/13/15   22:14:17     phOl    103027    SUP? INFO CREATED: PERSO: Name: PHOUNFY,LUCKY Race: A Sex: M Age: 33 Remarks:
                                          LAOS OR
                                             THAI
04/13/15   22:14:17     iffil   103027     COMMENT ADDED: ** PER search completed at 04/13/15 22:14:17
04/13/15   22:14:23     sntd    105103     [UNIT] 51P7C ER, Location 8538 HOLDEN RD SANT, 100072
04/13/15   22:14:33     phOl    103027     COMMENT ADDED: MALE POSS HAS BEEN ON DRUGS FOR SEVERAL DAYS ..HAS NOT
                                          SLEPT FOR SEVERAL
                                             DAYS
4/15/2015 12:57:23 PM                                  Event_Chronology                                             Page 1
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                                                                                                                                 CSD00164
Date       Time         Tenu      Operator   Action
04/13/15   22:14:34     phOl      103027        COMMENT ADDED:.
04/13/15   22:14:48     phOl      103027        COMMENT ADDED: 1W ADV HE IS ON COCAINE AND ACID
04/13/15   22:15:04     phOl      103027     SUPP INFO UPDATED: PERSO: Name: PHOUNFY,LUCKY Race: A Sex: M Age: 33 Remarks:
                                             LAOS OR
                                                   ThAI, SFHRT, SHORTS
04/13/15   22:15:04     11111     103027        COMMENT ADDED:       PER search completed at 04/13/15 22:15:04
04/13/15   22:15:09     sntd      105103        [IJNIT] 51P3C DP, Location 8538 HOLDEN RD SANT, 107127
04/13/15   22:15:13     sntd      105103        [UNIT] 5IP3C ER, Location 8538 HOLDEN RD SANT, 107127
04/13/15   22:15:17     saUl      105103        COMMENTADDED: BC
04/13/15   22:15:27     phOl      103027        COMMENT ADDED: 2ND RP IS GREG KELLY ADV GARAGE DOOR IS OPEN FOR DEPS
                                             ...NO WEAPONS
04/13/15   22:15:29     phOl      103027        COMMENTADDED:NFD
04/13/15   22:17:33     sntd      105103        COMMENTADDED: BC
04/13/15   22:20:51     sntd      105103        [UNIT] 5 IP3C ON, Location’ 8538 HOLDEN RD SANT, 107127
04/13/15   22:21:43     sntd      105103        COMMENT ADDED: 51P3C 51X1
                                                                       —




04/13/15   22:21:44     soLd      105103        [UNIT] SIP3C EC, 51P3C —    SIX!, Locafion 8538 HOLDEN RD SANT, 107127
04/13/15   22:21:52     $51P7C    100072        [UNIT] 51P7C ON, Location 8538 HOLDEN RD SANT, 100072
04/13/15   22:24:51     mrd       109861        [UNIT] A3 DI’, Location” 8538 HOLDEN RD SANT, 102303, 103841
04/13/15   22:24:51     Iead2     107873        COMMENT ADDED: LEAD 104
04/13/15   22:24:53     mrd       109861        [UNIT] A3 ER, Location 8538 HOLDEN RD SANT, 102303 , 103841
04/13/15   22:24:56     sntd      105103        [UNIT] 50P9C DI’, Location= 8538 HOLDEN RD SANT, 103141
04/13/15   22:24:57     srr       100646        [UN1TI A3 AK, Location 8538 HOLDEN RD SANT, 102303, 103841
04/13/15   22:25:01     sntd      105103        [UNIT] 50P9C ER, Location 8538 HOLDEN RD SANT, 103141
04/13/15   22:25:04     sntd      105103        COMMENT ADDED: 5 IP3C CODE COVER
                                                                       —




04/13/15   22:25:05     sntd      105103        [UNIT] SIP3C EC, SIP3C —    CODE COVER, Location 8538 HOLDEN RD SANT, 107127
04/13/15   22:25:06     Iead2     107873        COMMENT ADDED: CCLT ADVISED
04/13/15   22:25:10     supvl     102725        COMNENTADDED:CC SUP 10-4
04/13/15   22:25:11     watchcommwl0l672        COMMENT ADDED: CCLT 10-4
04/13/15   22:25:12     sntd      105103        [UNIT] 50P5C DP, Location 8538 HOLDEN RI) SANT, 103003
04/13/15   22:25:15     soLd      105103        [UNIT] SOP5C FR, Location 8538 HOLDEN RD SANT, 103003
04/13/15   22:25:22     srr       100646        COMMENT ADDED: A3 104
04/13/15   22:25:31     soLd      105103        COMMENT ADDED: 5OPSC 10-4
04/13/15   22:25:41     sntd      105103        [UNIT] 50P7C DP, Location 8538 HOLDEN RD SANT, 102820
04/13/15   22:25:44     saId      105103        [UNIT] 50P7C ER, Location=’ 8538 HOLDEN RD SANT, 102820
04/13/15   22:26:01     said      105103        COMMENT ADDED: UNITS ER CODE 5OPSC 10-4
                                                                              ..




04/13/15   22:26:24     saId      105103        [UNIT] 5 1P28 DI’, Location 8538 HOLDEN RD SANT, 107231
04/13/15   22:26:25     sold      105103        [UNIT] 5 IP2B ER, Location” 8538 HOLDEN RD SANT, 107231
04/13/15   22:26:33     sntd      105103        COMMENT ADDED: 5 1P7C TASER DEPLOYMENT
                                                                       —




4/15/2015 12:57:23 PM                                     Event_Chronology                                              Page 2
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              EXHIBIT “G”
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                                 ORIGINAL TRANSCRIPT
                                 ORIGINAL TRANSCRIPT



                            Transcript of the Testimony of:
                            Transcript of the Testimony of


                                     Marcos Collins
                                     Marcos Collins

                                                K.J.P
                                                K.J.P.

                                                   V.


                                       County
                                       County   of San Diego
                                                of San



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                                        February     2017
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        Marcos Collins
        Marcos Collins                                                 February 24 2017
                                                                       February 24, 2017


    1                       UNITED
                            UNITED STATES DISTRICT COURT
                                   STATES DISTRICT COURT

    2                      SOUTHERN DISTRICT OF
                           SOUTHERN DISTRICT    CALIFORNIA
                                             OF CALIFORNIA

    3

    4                        Case No
                             Case No.    15-cv-02692-H-MDD
                                         15-cv-02692-H-MDD

    5

    6     K.J.P     minor and
          K.J.P., a minor,     K.P.P a
                           and K.P.P.,
         minor individually,
         minor,   individually by     and
                                   by and
    7              their
         through their mother,
         through                    LOAN
                          mother LOAN THI THI
         MINH NGUYEN
         MINH  NGUYEN, who
                         who also
                             also sues
                                    sues
    8    individually and
         individually    and as
                             as successor
         in interest
         in  interest  to her
                       to            deceased
                                now deceased
                           her now
    9    husband
         husband, Lucky    Phounsy, and
                    Lucky Phounsy     and
         KIMBERLY   HANG  CHANTHAPHANH
         KIMBERLY NANG CHANTHAPHANH,
  10
  10     individually
         individually,

  11
  11                                  Plaintiffs
                                      Plaintiffs,

  12
  12                       vs
                           vs.

  13
  13      COUNTY OF SAN
          COUNTY    SAN DIEGO; et al
                        DIEGO et  al.,

  14
  14                                   Defendants
                                       Defendants.

  15
  15


  16
  16

  17
  17                   VIDEOTAPED DEPOSITION OF
                       VIDEOTAPED DEPOSITION OF MARCOS COLLINS
                                                       COLLINS


  18
  18                              San Diego
                                  San Diego,   California

  19
  19                                          24
                                     February 24,    2017
                                                     2017


  20
  20


  21
  21


  22
  22     REPORTED BY
         REPORTED BY:            KATHLEEN S. McLAUGHLIN,
                                 KATHLEEN     McLAUGHLIN CSR   NO 5845
                                                          CSR NO. 5845
                                 Certified  Shorthand
                                 Certified Shorthand Reporter
                                                      Reporter
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        Marcos
        Marcos   Collins
                 Coffins
                                                                        February 24 2017
                                                                        February 24, 2017


    1            Q         Okay.
                           Okay      What did you --
                                     What did     -- so what
                                                     so what type of
                                                             type of

    2    priority are these
                  are these             calls typically?
                                        calls typically     This type
                                                            This      of
                                                                 type of

    3    call
         call.

    4            A         I dont  know the
                             don't know the priority number
                                            priority number.          But
                                                                      But   its
                                                                            it's

    5          to medium
           low to
         a low    medium priority
                         priority.

    6            Q         Do     recall what
                           Do you recall what priority
                                              priority dispatch gave
                                                                gave

    7    this specific
         this          call that
              specific call      night
                            that night?

    8            A         No
                           No.

    9            Q            this the
                           Is this
                           Is      the type of call
                                       type of call that
                                                    that you would
                                                             would

  10
  10     respond
         respond lights and sirens
                 lights and        to though?
                            sirens to, though

  11
  11             A         No
                           No.

  12
  12             Q         Did     have
                           Did you have any specific concerns when
                                            specific concerns when you
                                                                   you

  13
  13     heard this
         heard this call go out
                    call go out?
  14
  14             A         Yeah
                           Yeah.     I have
                                       have concerns with every
                                            concerns with       call we
                                                          every call we

  15
  15     get
         get.        One of
                     One of the concerns was
                            the concerns was is the male
                                             is the      under the
                                                    male under the

  16
  16     influence
         influence.              So is
                                 So is it
                                       it an under-the-influence
                                          an under-the-influence call
                                                                 call or
                                                                      or

  17
  17        it a 5150
         is it
         is      5150, possibly psychiatric call or a
                                psychiatric call

  18
  18     combination thereof
         combination thereof.
  19
  19             Q         So
                           So, when you heard
                               when you heard this
                                              this call
                                                   call go
                                                        go out,
                                                           out          that
                                                                        that
  20
  20     was
         was     something that
                           that was in your mind,
                                was in      mind is
                                                  is this
                                                     this a

  21
  21     controlled substance
         controlled substance or is this
                              or is        mental health
                                    this a mental health

  22
  22     issue call
         issue call?
  23
  23             A         Yes
                           Yes.

  24
  24             Q         Or
                           Or    potentially
                                 potentially,   I guess,
                                                  guess it  could be
                                                         it could be both
                                                                     both;
  25
  25     right?
         right


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        Marcos Collins
        Marcos Collins                                                February 24 2017
                                                                      February 24, 2017


    1           Q        At
                         At    any point
                               any point    when you
                                            when you were
                                                     were en route did
                                                          en route did you
                                                                       you

    2     request
          request any additional
                  any additional information like that
                                 information like that from
                                                       from
    3     dispatch
          dispatch?

    4           A        No
                         No.     Typically
                                 Typically,       theres flags
                                               if there's
                                               if                    that
                                                                like that,
                                                          flags like

    5     the
          the   dispatcher
                dispatcher goes
                           goes through,
                                through and  shell tell
                                         and she'll tell you on
                                                         you on

    6     the
          the   way.
                way       Like
                          Like    weve been
                                  we've      here this
                                        been here this many times
                                                            times or
                                                                  or

    7     officer safety issues,
          officer        issues she
                                 she will
                                     will tell
                                          tell you on the
                                               you on the way


    8     there
          there.

    9           Q        All
                         All    right
                                right.
  10
  10                     So you got
                         So     got      there and
                                         there, and you
                                                    you parked
                                                        parked.     Did you
                                                                    Did
   11
   11    get out of
         get out of your car
                         car to wait for
                             to wait for backup
                                         backup?
  12
  12            A        Yes
                         Yes.
  13
  13            Q        And
                         And where
                             where did
                                   did you       wait
                                                 wait?
  14
  14            A        I think
                           think I waited
                                   waited by my car
                                             my car.        Maybe
                                                            PIaybe the
                                                                   the
  15
  15     house over
         house over.

  16
  16            Q        Were     contacted by any
                         Were you contacted        of
                                               any of       the family
                                                            the family

  17
  17     members while
         members           were waiting
                 while you were waiting for
                                        for your
                                            your backup?
                                                 backup

  18
  18            A        I dont  remember if
                           don't remember if Deputy Krull was
                                             Deputy Krull was there
                                                              there

  19
  19     when we
         when we contacted
                 contacted a male
                             male or the      contacted me
                                         male contacted
                                     the male           me

  20
  20     before
         before her arrival
                her arrival.               Im not
                                           I'm     sure
                                               not sure.

  21
  21            Q        Did
                         Did you have
                                 have        conversation with
                                           a conversation      this male
                                                          with this male?
  22
  22            A        Yes
                         Yes.

  23
  23            Q        Did he
                         Did he    start
                                   start talking to
                                                 to you
                                                    you or did
                                                           did you
                                                               you

  24
  24     start
         start asking
               asking questions of him
                                of him?
  25
  25            A        Im not
                         I'm     sure who
                             not sure     went
                                      who went first
                                               first.


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        Marcos Collins
        Marcos Collins                                                       February
                                                                             February 24, 2017
                                                                                      24 2017


    1          Q         What
                         What do
                              do you
                                 you       recall       discussed between
                                           recall being discussed between

    2    you and
         you     this male
             and this male?

    3          A         Something to
                         Something    the effect
                                   to the effect that a family
                                                 that   family

    4    member
         member    of
                   of     his
                          his    had
                                 had come back from
                                     come back from      a concert
                                                           concert in the
                                                                   in the


    5     desert Coachella,
          desert, Coachella and
                            and that he was
                                that he was paranoid that
                                            paranoid that

    6           were out
         people were     to kill
                     out to kill              him
                                              him.         wasnt the
                                                      That wasn't
                                                      That        the case
                                                                      case.

    7    And that
         And that he
                  he was
                     was high on acid and
                              on acid     cocaine
                                      and cocaine.

    8          Q         Do you
                         Do           recall          else
                                      recall anything else?


    9          A         No
                         No.

   10
   10          Q         Did
                         Did you ask this man
                                 ask this man         if Mr Phounsy,
                                                      if Mr.         the
                                                             Phounsy the

   11
   11     individual you were
          individual     were there to contact
                              there to          had any
                                       contact, had any

  12
  12     weapons
         weapons?
  13
  13           A         I dont  recall that
                           don't recall that.

  14
  14           Q         Is
                         Is    that
                               that   information
                                      information that would be
                                                  that would be helpful

  15
  15      for you
          for     in --
              you in       know before
                     -- to know before entering
                                       entering the residence
                                                the residence

  16
  16     to
         to   contact
              contact him
                      him?
  17
  17           A         Definitely
                         Definitely.

  18
  18           Q         Why
                         Why?
  19
  19           A         Because
                         Because      if were
                                      if we're going into         where
                                                     into a place where

  20
  20     theres
         there's weapons
                 weapons,             were definitely
                                      we're definitely gonna,
                                                       gonna you know
                                                                 know,

  21
  21     be
         be   careful
              careful on
                      on our
                         our approach.
                             approach                Maybe call
                                                           call the
                                                                the person

  22
  22     out to us
         out to us.            Wait
                               Wait   for      units
                                      for more units.

  23
  23           Q         Did     hear Deputy
                         Did you hear Deputy Krull
                                             Krull         ask this
                                                           ask this male
                                                                    male


  24
  24     whether
         whether or
                 or not
                    not           Mr Phounsy
                                  Mr. Phounsy had
                                              had any weapons?
                                                      weapons

  25
  25           A         I didnt
                           didn't hear that
                                  hear that.


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        Marcos
        Marcos   Collins
                 Collins
                                                                            February
                                                                            February 24, 2017
                                                                                     24 2017


    1    remember
         remember what
                  what day of the
                       day of     week
                              the week                  it was
                                                        it was.     But I think
                                                                    But   think

    2    it
         it   was -- he
              was -- he left from this
                        left from this concert
                                       concert and then
                                               and then went
                                                        went

    3    directly from
                  from there to this
                       there to this birthday
                                     birthday party.
                                              party

    4            Q         Is
                           Is    that
                                 that    what
                                         what   this individual
                                                this            told you,
                                                     individual told you or
                                                                          or

    5    thats just
         that's just what
                     what your general --         minds eye
                                          in your mind's
                                       -- in
                                                         eye

    6    what
         what        happened
                     happened?

    7            A           dont remember
                           I don't remember if          told me
                                            if somebody told    that
                                                             me that

    8         found that
         or I found that out
                         out after     fact
                                   the fact.
                             after the                              dont
                                                                  I don't

    9    remember
         remember.

  10
  10             Q         Did
                           Did you ask
                                   ask this individual any questions
                                       this individual
  11
  11     regarding the controlled substances
                   the controlled substances Lucky had
                                             Lucky had

  12
  12     allegedly
         allegedly used  how much,
                   used, how much when,
                                   when et cetera
                                        et cetera?

  13
  13             A         No
                           No.     He volunteered
                                   He volunteered      that             to us
                                                       that information to us.
  14
  14     He
         He just said
                 said,                think he
                                   "I think he took this stuff
                                               took this stuff at
                                                               at this
                                                                  this

  15
  15     concert,
         concert           Coachella
                           Coachella."          And I didnt
                                                And   didn't ask him how
                                                             ask him how much
                                                                         much

  16
  16     he took
         he took.           Just
                            Just    .
  17
  17             Q         You
                           You    didnt
                                  didn't ask him specifically
                                         ask him              which day
                                                 specifically which

  18
  18     he
         he   had taken these
              had taken       drugs
                        these drugs?
  19
  19             A         No
                           No.

  20
  20             Q         Did Deputy
                           Did        Krull
                               Deputy Krull?

  21
  21             A         Im  not sure
                           I'm not sure.

  22
  22             Q         Was
                           Was    that
                                  that   information that
                                         information that   was
                                                            was important to
                                                                          to

  23
  23     you in      role in
             in your role    responding to
                          in responding    this
                                        to this?
  24
  24             A         Yes
                           Yes.

  25
  25             Q         How
                           How come
                               come you         didnt      him for
                                                       ask him
                                                didn't ask     for it, then
                                                                   it then?


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                            ORIGINAL TRANSCRIPT
                            ORIGINAL TRANSCRIPT



                        Transcript of the Testimony of:
                       Transcript of the Testimony of


                                  Janae
                                  Janae                Krull
                                                       KruII

                                                K.J.P.
                                                K.J.P


                                                  V.

                                 County
                                 County         of San Diego
                                                of San



                                           23, 2017
                                  February 23
                                  February     2017

                                           Volume I
                                           Volume




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        Janae Krull
        Janae KruII
                                                                        February
                                                                        February 23 2017
                                                                                 23, 2017


    1                      UNITED STATES
                           UNITED        DISTRICT COURT
                                  STATES DISTRICT COURT

    2                     SOUTHERN DISTRICT
                          SOUTHERN DISTRICT OF CALIFORNIA
                                            OF CALIFORNIA


    3

    4                            No 15-cv-02692-H-MDD
                            Case No.
                            Case     15-cv-02692-H-MDD

    5

    6     K.J.P
          K.J.P., a minor  and K.P.P
                    minor, and K.P.P., a               )
         minor
         minor,       individuallyby and
                      individually,  and               )
    7    through their
         through          mother LOAN THI
                   their mother,         THI           )
         MINH  NGUYEN who
         MINH NGUYEN,   who also
                             also sues
                                   sues                )
    8    individually and
         individually    and as
                             as successor              )
         in  interest  to  her
         in interest to her now now deceased
                                    deceased           )
    9    husband
         husband, Lucky              and
                           Phounsy, and
                    Lucky Phounsy                      )
         KIMBERLY NANG
         KIMBERLY         CHANTHAPHANH
                    NANG CHANTHAPHANH,                 )
   10
   10    individually,
         individually                                  )
                                                       )
   11
   11                                  Plaintiffs
                                       Plaintiffs,     )
                                                       )
   12
   12                    vs
                         vs.                           )
                                                       )
   13
   13     COUNTY OF
          COUNTY OF SAN DIEGO et
                    SAN DIEGO;    al
                               et al.,                 )
                                                       )
   14
   14                Defendants
                     Defendants. )
         ___________________ )
   15
   15


   16
   16


   17
   17                 VIDEOTAPED DEPOSITION OF
                      VIDEOTAPED DEPOSITION OF JANAE
                                               JANAE KRULL
                                                     KRULL

   18
   18                           San
                                San    Diego California
                                       Diego, California

   19
   19                                 February 23
                                      February 23,   2017
                                                     2017

   20
   20


   21
   21


   22
   22    REPORTED BY
         REPORTED BY:          KATHLEEN
                               KATHLEEN S. McLAUGHLIN,
                                            McLAUGHLIN CSR   NO
                                                       CSR NO.         5845
                                                                       5845
                               Certified Shorthand
                               Certified  Shorthand Reporter
                                                    Reporter
   23
   23                          License No   5845
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   24
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        Janae Krull
        Janae KruII
                                                                           February 23 2017
                                                                           February 23, 2017


    1           Q     All
                      All    right
                             right.     Do
                                        Do you    mind
                                                  mind?     Thank you
                                                            Thank you.
    2                 Do you
                      Do     recall the
                         you recall the comments of the
                                        comments of     call at
                                                    the call, at


    3     least as
          least    it came
                as it      out over
                      came out over the radio
                                    the radio?


    4          A      Over     radio
                           the radio,
                      Over the                to
                                              to my recollection an
                                                 my recollection, an

    5     individual had
                     had called
                         called 911 because he
                                911 because he was
                                               was having
                                                   having a

    6     bad reaction
          bad reaction to
                       to drugs
                          drugs taken  and he
                                taken, and he was
                                              was paranoid,
                                                  paranoid

    7     felt someone was
          felt someone            to get
                       was coming to     him
                                     get him.

    8          Q      Okay.
                      Okay       So
                                 So was
                                    was it
                                        it a --
                                             -- like   mental health
                                                like a mental health

    9     evaluation call
          evaluation call, or
                           or was
                              was it   crime in
                                  it a crime in progress?
                                                progress                        How
                                                                                How
  10
  10     would you characterize
         would you characterize            a call like that
                                             call like that?
  11
  11           A      Its very
                      It's      hard to
                           very hard    tell
                                     to tell.             Through
                                                          Through my

  12
  12      training and experience  we receive
                       experience, we receive many calls that
                                              many calls that

  13
  13            like its
          sound like
          sound           going to
                     it's going to be
                                   be pertaining to one
                                      pertaining to     issue
                                                    one issue,

  14
  14     and we
         and we get
                get        there its
                           there,                 different
                                  it's completely different.
  15
  15                  So
                      So    its
                            it's -- on the
                                 -- on
                                       the way it could have
                                               it could have              --   it
                                                                               it


  16
  16     went
         went through my mind
              through my mind that
                              that it could be
                                   it could be a medical
                                                 medical

  17
  17     emergency,
         emergency it  could be
                    it could be something assaultive,
                                          assaultive it
                                                      it


  18
  18     could be
         could be a drug-induced.
                    drug-induced                There were
                                                There were multiple things
                                                                    things

  19
  19     it
         it   could
              could have been
                    have been.
  20
  20           Q      Okay.
                      Okay       Of
                                 Of   course,
                                      course        never really
                                                you never        know
                                                          really know

  21
  21     until
         until you
               you get
                   get        there
                              there.
  22
  22           A      Correct
                      Correct.
  23
  23           Q        appreciate that
                      I appreciate that.
  24
  24                  But
                      But    at the time
                             at the time you got
                                             goi the
                                                 the actual
                                                     actual call,
                                                            call

  25
  25     what were you thinking
         what were     thinking regarding
                                regarding the nature of
                                          the nature of this
                                                        this



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        Janae KruII
        Janae Krull                                                        February 23 2017
                                                                           February 23, 2017


    1     was
          was    97
                 97 or    scene
                       on scene.
                    or on


    2            Q    And how soon
                      And how      before you arrived,
                              soon before     arrived               based on
                                                                    based on


    3          recollection
          your recollection,          did Deputy
                                      did Deputy Collins
                                                 Collins let
                                                         let you know
                                                             you know

    4     he
          he    was 10-97
                was 10-97?

    5           A      Based on
                       Based on my recollection
                                   recollection at     moment one
                                                   the moment,
                                                at the         one


    6     to two minutes
          to two minutes.

    7           Q      Before     arrived
                       Before you arrived?

    8           A      To my knowledge
                       To    knowledge, yes
                                        yes.

    9           Q      So for
                       So for that
                              that approximate five minutes
                                               five minutes

   10
   10     before, is there
          before is  there any reason     couldnt have
                               reason you couldn't have looked
                                                        looked
   11
   11     up this additional
          up this            information
                  additional information?

   12
   12           A      If
                       If    we
                             we   waited outside
                                  waited         while there
                                         outside while there was
                                                             was

   13
   13    possibly
         possibly      a medical
                         medical emergency
                                 emergency going on inside yes.
                                                 on inside, yes
   14
   14           Q     Okay
                      Okay.
   15
   15                  So how
                       So how long did the
                              long did     conversation
                                       the conversation last with
                                                        last

   16
   16     this gentleman in
          this gentleman in the driveway at
                            the driveway, at least insofar as
                                             least insofar as

   17
   17        were present for
         you were         for           it
                                        it?
   18
   18           A     They were
                      They              when
                           were talking when       I pulled up.
                                                            up             They
   19
   19    were talking
         were         while
              talking while           I walked
                                        walked to
                                               to the
                                                  the driveway,
                                                      driveway and
                                                                and I

   20
   20    heard
         heard approximately          a minute of the
                                        minute of the conversation
                                                      conversation as
                                                                   as

   21
   21    we
         we were walking to
            were walking    the door
                         to the door.
   22
   22           Q     All right
                      All right.       So at
                                       So at this
                                             this point you're walking
                                                  point youre  walking
   23
   23    towards
         towards the house
                 the house?
   24
   24           A     Correct
                      Correct.
   25
   25           Q     So at
                      So    that point
                         at that       state every fact
                                 point state       fact known
                                                        known to
                                                              to



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        Janae KruU
        Janae Krull                                                           February 23 2017
                                                                              February 23, 2017


    1         regarding
          you regarding         Mr
                                Mr. Phounsy.
                                    Phounsy

    2           A       Asian
                        Asian male adult
                              male adult.         Paranoid
                                                  Paranoid.      Bad reaction
                                                                 Bad reaction

    3     to drugs.
          to drugs          Believed
                            Believed somebody
                                     somebody was
                                              was      there to
                                                       there    harm him
                                                             to harm him

    4     and his family.
          and his family

    5                   Wanted to
                        Wanted to go to the
                                  go to the hospital
                                            hospital but wouldnt
                                                     but wouldn't


    6     go
          go.       Still
                    Still   inside
                            inside the residence
                                   the residence.       Unknown location
                                                        Unknown location

    7     within the residence
          within the residence.            And
                                           And   thats what
                                                 that's what   knew going
                                                             I knew

    8     in
          in.

    9           Q       Can you think
                        Can     think of          else
                                      of anything else?

   10
   10           A       Not
                        Not          now no
                               right now, no.
   11
   11           Q       Did
                        Did you later
                                later identify
                                      identify the
                                               the           individual that
                                                             individual that

   12
   12        were talking to
         you were            out
                          to out            in front of
                                            in front of the
                                                        the house
                                                            house as
                                                                  as

   13
   13          Kelly
          Greg Kelly?
   14
   14           A       Yes
                        Yes.

   15
   15           Q       Mr Kelly
                        Mr. Kelly, he didnt tell
                                   he didn't tell you that
                                                  you that

   16
   16    Mr
         Mr. Phounsy
             Phounsy was          in the
                     was standing in the hallway next to the
                                                 next to the

   17
   17    bedroom
         bedroom by his
                    his          wife
                                 wife?
   18
   18           A       I did
                          did not hear that
                              not hear      information
                                       that information.

   19
   19           Q      All
                       All     right.
                               right     So prior
                                         So,       to walking
                                             prior to         into the
                                                      walking into the


   20
   20    house, did you
         house did  you have
                        have any reason to believe that
                                        to believe that

   21
   21    Mr Phounsy
         Mr.             armed with
                     was armed
             Phounsy was       with a weapon?
                                      weapon

   22
   22           A      No
                       No.
   23
   23           Q      Not
                       Not     a single, specific and
                                 single specific      articulable fact
                                                  and articulable fact

   24
   24    that he
         that    was armed
              he was armed with
                           with           a weapori?
                                            weapon

   25
   25           A      No
                       No.


                                                                                             Page
                                                                                             Page 48
                                                                                                  48
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                                                                                          Information Source if not Patient:
                                                Dato1 °{J,T~ t2-
~1?41¾,s-               ?:ov Pt'Y\
                                                              Preferred to be Called:
                                                                                              Lot'\-~ NGv-lW
                                                                                                         I
Patient Name:
                    Lucky            \)~ UU h   ~'i
                                                                        D Hearing □ Speech D Cognition □ Other
Any impairments to written/oral communication : Ef None D Vision
Do You Speak and Understand English? D No Mes I Do You Need
                                                                             an Interpreter? f9"No D Yes

Interpreter: □ Offered □ Refused □ Patient request family/friend          as
                                                                         .interpreter
             □ Unable to provide appropriate interpreter Name
                                                               of Interpreter, if needed
                                                          ~lJ bl-\{,,'°'                              ,
What is your preferred language for oral communication?
What is the preferred language for written communication? !qt-ll:,l,\~\t
Do you have a support person /ca~ar tner that could help you in Relatio
                                      ~\i~p j
                                                                        I
                                                                      WI~
                                                                              nship:           Phone:
                                                                                                     ~Sb?  ~"U-iO~
the care-decision making? l,..o                                                                         _,
                                                                            admission?
Do you wish to have a family member or representative notified of your
             □ Family member/representative is already aware
                                                              of admission               □ No
                                                 D Unable to comple    te  due  to clinical condition
             D Yes, notify the following

                                                  Relationship:                       Number:
Name:
                                                                     t person/care partner?                  ~bu( t\
What is the preferred language for oral communication of your suppor
                                                                         t person/care partner?               ~l,l,H ,\\--
What is the preferred language for written communication of your suppor
Why are you in the hospital?


How can we provide "'very good'. care for you during your hospital visit?


 Do you have any special requests regarding visitors? (Describe)


 REQUIRED                      Height :        -- s·~       Stated Weight:          r,S-              Weigh t:

 Infecti ous Diseas e Screen ing
                                                                contact, traveled within the last 21 days?
 IO"'No □ Yes Have you, or anyone with whom you have close
                                                                          or Sierra Leone? Describe:
 !iANo □ Yes Did location of this recent travel include: Liberia, Guinea
 □ No 0 Yes Do you have any of the follow
                                             ing symptoms: □ Fever D Adominal Pain D Bleeding □ Chills
                                                                               □ Vomiting D Weakness/Numbness
                     □ Diarrhea D Fatigue Headache □ Muscle Pain
 Allerg ies
                                                                         E □ X-RAY DYE □ SHELLFISH □TAPE?
  ONo □ Yes Are you ALLERGIC to □ LATEX DRUBBER □ IODIN                             ., .. -
               (Reaction) ·-
                                                                                                 FOOD ALLERGY?
 11l1 No D Yes Do you have an Allergy/sensitivity to sulfites (food & drug preservatives) or any
      I
               (Type /Reaction)
                                                                         list on Medication/Allergy form)
  2l'No D Yes Do you have any MEDICATION ALLERGIES? (please
                                                                     e
  Person al Prefer ences/N eeds Screen ing, if"yes" , please describ
  □ No D Yes Do you have religious/cultural
                                            preferences that will affect your care?
  □       No D Yes Do you request a spiritual advisor?
                                                                             PATIENT IDENTIFICATION
                                                                                   -- ·    ·---              ----   -        -- - ·-
 SlWU?.                       ACU TE PATI ENT INTA KE
                                                                               /
                                                                               : (82664 n7) 041141201s
                                                                               I
                                                                                  PH OUNSY, LUCKY 07/31/ 1982
                                                                               I
                                                                                 00-93- 04-24 IPE AGE: 32 M
 RN Signature                                                                  ' ATT: POKALA,SATHYA P
                                                                                  PCP: UNKNO WN PCP
 Date/Time                                                                     I
                                                                                 --- ...   102-30 6-995
                                                                                          - -- - -  -----     --                  --
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                                                                                                                                    II\


Would~ accept blood or blood products?
      Yes. I would accept blood or blood products.
    □ Yes. I would accept blood or blood products with conditions. Please Describe:


         No, I would not accept blood or blood products.
          □

~ o □ Yes Do you have an Advanced Directive (Living Will, POLST form, etc .)?
              If YES: Who will be bringing your form to place on the chart?
              If NO : Would you like information about this?
i;t'No □ Yes Would you like to p~rticipate in the Open Medical Record Program? (may not available at all facilities)
~No □ Yes Do you use or are you interested in Integrative Therapies during this hospitalization? (Reiki,
              Acupuncture, Massage, etc). Integrative therapies may not be available at all facilities.
Nu,trition/Speech Screening, if ••yes", please describe
cef No □ Yes  Do you have any food preferences/special diet needs that need to be part of your care?
lit'No □ Yes Have you been eating less than half your usual meals during the last week? (other than a Doctor's
              order to not eat)
CifNo_, □ Yes Do you have difficulty eating, or do you cough or choke while swallowing food or liquids?

E'.f No □ Yes Do you have a new problem with understanding, communicating or talking?
Functional Screening, if "yes" please describe
g'No □ Yes Have you had a recent change in your ability to walk, or get out of bed/chair?
fiINo □ Yes Have you had a recent decrease in your ability to do your self care activities? (washing, grooming,
                                                                                                    ...
      ,       dressing, etc.)
EfNo D Yes Do you follow a bowel program at home? D Meds □ Diet D Rehab Date.of last BM
f!?( No   □   Yes Do you have chronic pain? (Pain lasting 6 months or more) If yes, answer additional questions:

Origin/Cause of Pain:                       ILocation:                             IDuration:
Pain In tensity (Pain Scale 0-10)           Acceptable Level=     Current=          At Worst=              At Best=
What makes the pain worse?
What makes the pain better?
What are the effects of the pain?
Is current pain regimen effective?
Personal Safety Screening, if "yes", please describe
&?'No □ Yes Are you in a relationship in which you have been hurt, threatened or scared?
Smoking     Are you a: D Current every day smoker D Current some day smoker □ Former smoker
Status:     ul"Never smoked □ Smoker, current status unknown □ Unknown if ever smoked
  ,         □ Light tobacco smoker      D Heavy tobacco smoker
0No □ Yes Have you smoked cigarettes within the last 12 months?        D Unknown/unable to obtain
    .        Began?                  Last used?
ISYNo D Yes Do you currently have an Intravenous Device (PICC line, Midline or Port) or any other implanted
            device or pump in your chest, neck, abdomen or arm? ( Insulin pump. Pain pump, etc)
[WNo D Yes Do you currently have Horne Health Services visiting you?
             Agency Name:
                                                                       P~s~TJ!2E_NTIFIC ~l:ION _ __   ------   ·- ·-     ' '·


SHARP.                      ACUTE PATIENT INTAKE
                                                                       I (82664727) 04/14/2016
                                                                         PHOUNSY,LUCKY 07/31/1982
                                                                         00-93-04-24 IPE AGE: 32 M                              '
                                                                       ' ATT: POKALA,SATHYA P
                                                                       I
                                                                         PCP: UNKNOWN PCP
                                                                                  102-306-995
                                                                                  · · - -·        --- - - -        ··
SHC-CA-3625-NS Rev.1 -28-15) Pa ge 2 of 5
                                                                                                                        001901
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Per,,tonal Safety Screening, if "yes", please describe (continued)
CH'No □ Yes Do you live anywhere other than a private residence?
            D Board & Care □ Family & Friends □ Homeless □ Residential Treatment Center D Shelter
            D Other:
Communicable Diseases Screening if "yes" please describe ·
BNo D Yes Do you have a history of communicable disease:
          □ None □ C-Difficile □ CMV □ ESBL □ HIV □ KPC □ MRSA □ VRE
 /        □ Chickenpox· (in last 3 weeks) D Whooping cough D OTHER
IBNo □ Yes Have you had a cough greater than 3 weeks duration and do you currently have recent unexplained
           weight loss, bloody sputum, night sweats or fever? If "yes~', please specify below: Or if pregnant
           with no prenatal care please specify: D Bloody sputum D History of exposure to TB D Cough
           □ History of positive TB skin test □ History of positive chest x-ray for TB □ Treated for TB
Pregnant/Breastfeeding
E1No □ Yes Women: Are you currently/possibly pregnant?
~No □ Yes Women: Are you currently breastfeeding?
Historical Immunizations
□ No BYes Have you had the Influenza vaccine in this flu season?                                 Date:       ~ - rp,;-
□ No □ Yes Have you had the Pneumonia vaccine in the last 5 years?                                Date:
Psycho-Social Screening if "yes" please describe                                                                                  -
~ o □ Yes Have you been in counseling and/or taking medication for treatment of mental illness in the last 2 years?
S"No □ Yes Have you had suicidal thoughts, and/or attempts. in the last 2 years?
D No [l]IYes Have you abused or been in treatment for substance dependence (alcohol, street drugs, and
           - prescriptions) in the last 3 years?
                                                                          I
Describe Substance Abuse:                                       '
Alcohol use history:         □ None        ntcurrent       □ Past     D Other:
Alcohol type:                O,,Beer       l!tLiquor       □ Wine     □   Other:
Alcohol use frequency: &Binge drinking D Daily D Weekly D Monthly □ Occasionally □ Other:
Alcohol use amount:
Alcohol last used:
Alcohol use notes:



Describe Drug Use:
Drug use history:       □ None         rn"Current      □ Past       D Other:
Drug use type:          □    Amphetamines           D Anti-Depressants             □   Anti Psychotics          D Benzodiazepines
       -                 Ka Cocaine                 D Cough Syrups                 D Ecstasy                    D Hallucinogens
                         D Heroin                   D Inhalants {Glues/Solvents/ Aerosols)                      □ Ketamine
                         cst'LSD                    9 Marijuana                    □   Methamphetamines D Muscle Relaxants
                         □ Narcotics                D Opiates                      □ PCP                        D Sedatives
                         0   Sleeping Aids          01:;timulants
                         □ Other:
                                                       -                           PATIENT IDENTIFICATION
                                                                                        I' -
                                                                                                                 -
                                                                                             -----~ --- . - - -- - - - - - - - - - -
SHARP.                       ACUTE PATIENT INTAKE                                      ' c8265412n 04/14no15
                                                                                         PHOUNSY ,LUCKY              07/31/1982
                                                                                       \ 00-93-04-24 !PE AGE: 32 M
                                                                                         ATT: POKALA,SATHYA P
                                                                                                                                              '
                                                                                         PCP: UNKNOWN PCP
                                                                                                102-306-995                 - -           -
SHC-CA-3625-NS (Rev.1-2B-15) Page 3 of 5                                                 -     --         - -- --- -    -     ~
                                                                                                                                      .

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                       Transcript of the Testimony of:

                   Richard Joseph Geller, M.D.
                                            K.J.P.

                                              v.

                                 County of San Diego

                                     July 20, 2017

                                          Volume I




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         Richard Joseph Geller, M.D.                                         July 20, 2017

   ·1· · · · · · · · ·UNITED STATES DISTRICT COURT

   ·2· · · · · · · · SOUTHERN DISTRICT OF CALIFORNIA

   ·3

   ·4· · · · · · · · · Case No. 15-cv-02692-H-MDD

   ·5

   ·6·   ·K.J.P., a minor, and K.P.P., a· ·)
   · ·   ·minor, individually, by and· · · )
   ·7·   ·through their mother, LOAN THI· ·)
   · ·   ·MINH NGUYEN, who also sues· · · ·)
   ·8·   ·individually and as successor· · )
   · ·   ·in interest to her now deceased· )
   ·9·   ·husband, Lucky Phounsy, and· · · )
   · ·   ·KIMBERLY NANG CHANTHAPHANH,· · · )
   10·   ·individually,· · · · · · · · · · )
   · ·   · · · · · · · · · · · · · · · · · )
   11·   · · · · · · · · · · Plaintiffs,· ·)
   · ·   · · · · · · · · · · · · · · · · · )
   12·   · · · · · · vs.· · · · · · · · · ·)
   · ·   · · · · · · · · · · · · · · · · · )
   13·   ·COUNTY OF SAN DIEGO; et al.,· · ·)
   · ·   · · · · · · · · · · · · · · · · · )
   14·   · · · · · · · · · · ·Defendants.· )
   · ·   ·_________________________________)
   15

   16

   17· · ·VIDEOTAPED DEPOSITION OF RICHARD JOSEPH GELLER, M.D.

   18· · · · · · · · · · San Diego, California

   19· · · · · · · · · · · · ·July 20, 2017

   20

   21

   22

   23

   24· ·REPORTED BY:· KATHLEEN S. McLAUGHLIN, CSR NO. 5845
   · · · · · · · · · ·Certified Shorthand Reporter
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       Richard Joseph Geller, M.D.                                         July 20, 2017

   ·1· ·belong.
   ·2· · · · · · If I ask a question and you don't agree with
   ·3· ·the premise of the question or it's just not formulated
   ·4· ·in a way that you think you can give an accurate answer,
   ·5· ·please let me know and I'll back up, I'll try to correct
   ·6· ·it, because our objective here today is to get a clean
   ·7· ·record of your testimony and what you mean to say.
   ·8· · · · · · When were you first retained on this case, do
   ·9· ·you recall?
   10· · · ·A· · Approximately July of 2016.
   11· · · ·Q· · So it's been just about a full year?
   12· · · ·A· · Approximately, yes.
   13· · · ·Q· · Okay.· And are you testifying, in your mind, as
   14· ·an expert in toxicology?
   15· · · ·A· · I'm -- yes, I'm both a medical toxicologist and
   16· ·a forensic toxicologist.
   17· · · ·Q· · And can you just explain what a toxicologist
   18· ·is?
   19· · · ·A· · A toxicologist is a very, very broad term which
   20· ·denotes someone with expertise somewhere along the line
   21· ·in poisoning, either clinical expertise or laboratory
   22· ·expertise.
   23· · · · · · A medical toxicologist is an expert in the
   24· ·diagnosis and treatment of poisoned patients.· I am an
   25· ·internist and emergency physician, and I'm board


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       Richard Joseph Geller, M.D.                                         July 20, 2017

   ·1· · · · · · But you're saying that just based on his
   ·2· ·behavior -- and we know what his behavior was.· There
   ·3· ·was some dispute about it, but a lot of it's agreed --
   ·4· ·on Monday night that you attribute that behavior as
   ·5· ·virtually certain to be the result of his recent
   ·6· ·ingestion of bath salts?
   ·7· · · ·A· · My opinion is not based simply on his behavior
   ·8· ·that night.
   ·9· · · ·Q· · Well, your explanation for his behavior that
   10· ·night, his cognitive break that we all agree happened,
   11· ·is that it virtually certainly was due to the fact that,
   12· ·unbeknownst to anybody, or anybody who will admit it, he
   13· ·consumed bath salts on Monday, April 13th; correct?
   14· · · ·A· · I never use the phrase virtually certain.· I am
   15· ·saying --
   16· · · ·Q· · Okay.· Your term.· Your term is -- it's here.
   17· ·To a high degree of medical probability.
   18· · · ·A· · That's different than certainty.
   19· · · ·Q· · Okay.· So we'll use that term.
   20· · · · · · So you're saying that based on his behavior on
   21· ·the 13th the -- the evening of the 13th as well as the
   22· ·clinical findings on autopsy that to a high degree of
   23· ·medical probability Mr. Phounsy apparently, unbeknownst
   24· ·to his family and the people around him, consumed bath
   25· ·salts, and that's why he went into this altered state of


                                                                                   Page 75
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       Richard Joseph Geller, M.D.                                         July 20, 2017

   ·1· ·consciousness.
   ·2· · · · · · MS. PARADIS:· Objection.· May misstate his
   ·3· ·prior testimony.
   ·4· · · · · · MR. OSTERBERG:· Objection.· Misstates prior
   ·5· ·testimony.· Overly broad.
   ·6· · · · · · THE WITNESS:· On the basis of the sum total of
   ·7· ·information that was presented to me in this case, his
   ·8· ·previous history, the pathology on his autopsy, going to
   ·9· ·a concert where drug use was rampant, and the
   10· ·opportunity to buy bath salts was there and, most
   11· ·importantly, his behavior on the evening of the 13th
   12· ·after a relatively lucid interval during the earlier
   13· ·part of the day on the 13th, I believe -- it is my
   14· ·opinion as a medical toxicologist to a reasonably high
   15· ·degree of medical probability, well exceeding
   16· ·50 percent, that his -- that he was under the influence
   17· ·of a sympathomimetic drug not detectable by the San
   18· ·Diego County Medical Examiner.
   19· ·BY MR. BURTON:
   20· · · ·Q· · And is your -- is that an exhaustive list of
   21· ·all the reasons you have?· I mean, you listed a bunch of
   22· ·reasons.· I just want to make sure that you've listed
   23· ·all your reasons.
   24· · · ·A· · I believe it is.· I was trying to give you the
   25· ·whole picture in one answer.


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  12                                                    Current Neuropharmacology, 2015, 13, 12-2 0

  Synthetic Cathinones: A New Public Health Problem
  Laurent Karila 1·*, Bruno Megarbane2- 5 , Olivier Cottencin6 and Michel Lejoyeux:7

  1
   Addiction Research and Treatment Center, Paul Brousse Hospital, Paris-Sud University, Villejuif
  94800, France; CEA -INSERM, Orsay, France; 21nserrn, U1144, Paris, F-75006, France; 3Paris-
  Descartes University, UMR-S 1144, Paris, F-75006, France; 4Paris-Diderot University, UMR-S
  1144, Paris, F-75013, France; 5Department ofMedical and Toxicological Critical Care, Lariboisiere
  Hospital, Paris-Diderot University, 75010 Paris, France; 6Department of Psychiatry and
  Addictology, CHRU Lille, France; 7Department of Psychiatry and Addictology, Bichat Hospital,
  Paris-Diderot University, Paris, France

              Abstract: New psychoactive substances (NPS) have completely modified the drug scene and the
                                                                                                                              Laurent Karlla
              current landscape of addiction. Synthetic substances, such as substituted or synthetic cathinones, also
              known as « legal highs», are often produced and used to mimic the effects of controlled drugs such as cocaine,
              methylenedioxymethamphetarnine (MDMA, ecstasy), and methamphetamine. The overwhelming majority of synthetic
              cathinones are produced in China and South East Asian countries. The Internet has emerged as the new marketplace for
              NPS, playing a major role in providing information on acquisition, synthesis, extraction, identification, and substance use.
              All these compounds are intentionally mislabeled and sold on-line under slang terms such as bath salts, plant food, plant
              feeders and research chemicals . They are sometimes labeled « not for human use» or « not tested for hazards or
              toxicity». The rapid spread of NPS forces member countries of the European Union to adapt their response to the
              potential new dangers that may cause. To date, not only health actors but also the general public need to be clearly
              informed and aware of dangers resulting from NPS spread and use. Here, we review the major clinical effects of synthetic
              cathinones to highlight their impact on public health. A literature search was conducted from 2009 to 2014 based on
              PubMed, Google Scholar, Erowid, and governmental websites, using the following keywords alone or in combination:
              "new psychoactive substances", "synthetic cathinones", "substituted cathinones", "mephedrone", "methylone", "MDPV",
              "4-MEC", "addiction", and "substance use disorder''.
  Keywords: Addiction, MDPV, 4-MEC, mephedrone, methylone, new psychoactive substances, substance use disorder,
  substituted cathinones, synthetic cathinones,

  INTRODUCTION                                                                   methylenedioxypyrovalerone (MDPV), methylethcathinone
                                                                                 (4-MEC), 3-fluoromethcathinone (3-FMC), 4-fluoromethcathinone
       New psychoactive substances (NPS) have completely                         (4-FMC), buphedrone (alpha-methylamino-butyrophenone),
  modified the drug scene and the current landscape of                           butylone (beta-keto-N-methyl-3,4-benzodioxyolybutanamine),
  addiction [ 1]. Synthetic substances, such as substituted or                   methedrone       (4-methoxymethcathinone),        pentedrone
  synthetic cathinones, also known as « legal highs », are a                     (a-methylaminovalerophenone)          and          naphyrone
  group of ~-ketone amphetamine compounds derived from                           (naphthylpyrovalerone) are some of the most well-known
  cathinone, the active stimulant in the khat plant. These drugs,
                                                                                 synthetic cathinones (Table 1) [4].
  still not controlled by international laws, are often produced
  and used to mimic the effects of controlled drugs such as                          The Drug Enforcement Administration (DEA) has noted
  cocaine, methylenedioxymethamphetamine (MDMA, ecstasy),                        that the terminology of synthetic cathinones tends to have a
  and methamphetamine. NPS can appear on the market either                       glamorous aura including « Meow Meow », « Bliss »,
  under the guise of a controlled drug or as an alternative to a                 « Energy-I »,«Hurricane Charlie»,« White rush»,« Bloom»,
  controlled drug [2]. In this way, 4-methylamphetamine was                      « Blue magic », « Blue silk», « Cloud 9 », « Cloud 10 »,
  sold directly on the illicit drug market as amphetamine.                       « Mind Candy», « Rocket Fuel», « Sextasy », and «Torpedo».
                                                                                 All these compounds are intentionally mislabeled and sold
      Synthetic cathinones and synthetic cannabinoids
                                                                                 on-line under slang terms such as bath salts, plant food, plant
  represent more than two thirds of the NPS available in
                                                                                 feeders and research chemicals. They are sometimes labeled
  this new drug market. The overwhelming majority of
                                                                                 « not for human use » or « not tested for hazards or toxicity »
  synthetic cathinones is produced in China and South East
                                                                                 [3]. Their street price in the US is approximately $25- 35 per
  Asian countries (3). Mephedrone (4-methylmethcathinone),
  methylone      (3,4-methylenedioxymethcathinone),   3,4-                       half gram package, while in Europe prices range between 18
                                                                                 and 25 € per gram [1].
                                                                                    Constant modification of the chemical structure by covert
  * Address correspondence to this author at the Addiction Research and          laboratories allows manufacturers to stay one step ahead of
  Treatment Center, Paul Brousse Hospital, 12 avenue Paul Vaillant Couturier,
  Villejuif94800, France; Tel: 33 1 45596513;
                                                                                 the legal process. The Internet has emerged as the new
  E-mail: Laurent.karila@pbr.aphp.fr                                             marketplace for NPS, playing a major role in providing

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  16   Current Neuropharmacology, 2015, Vol 13, No. 1                                                                           Kari/a et al


  Table 2.    Classification of the different cathinones according to their relative potential of monoamine reuptake inhibition and
              release, in comparison to methylenedioxymethamphetamine (MDMA), methamphetamine, and cocaine.

                                         Monamine Reuptake Inhibition                                 Monoamine Release

                              Dopamine           Norepinephrine         Serotonine      Dopamine         Norepinephrine       Serotonine

                                                              MDMA-like cathinones

        Mephedrone               +++                    +++                ++              ++                 ++                 ++

         Methylone               +++                    +++                ++              ++                 ++                 ++

                                                         Methamphetamine-like cathinones

         Cathinone                ++                    +++                 +              +++                +++                 -
       Methcathinone              ++                    +++                 +              +++                +++                 -
                                                              Cocaine-like cathinones

        Pyrovalerone              ++                    +++                ++               -                  -                  -
           MDPV                   ++                    +++                ++               -                  -                  -

      Drug discriminative studies represent an effective model              leading cause ofNPS-induced fatalities. However, concomitant
  to investigate subjective drug effects in humans. Mice                    synthetic cathinones and other drugs use have been reported
  reliably discriminate MDPV from saline and cumulative                     in numerous fatalities , limiting any definitive conclusion
  doses of MDPV, MDMA and methamphetamine fully                             regarding their implication in the onset of death.
  substituted for MDPV training stimulus (45]. In rats, MDPV,
                                                                                In 2012, 2.5% of telephone enquiries to the UK National
  methylone, mephedrone, naphyrone, and butylone can fully
                                                                            Poisons Information Service and 2.4% of enquiries to US
  substitute for the discriminative stimulus effects of cocaine
                                                                            poisons centres are related to recreational drugs (50]. The
  and methamphetamine. Mephedrone effects are comparable
  to those of MDMA, cocaine and methamphetamine.                            retrospective telephone call data obtained from the UK
                                                                            Poisons information service showed that 28% of the
      Acquisition of self-administration with MDPV is                       presumed NPS-intoxicated persons presented agitation (29].
  obtained with a greater potency and efficacy than with                    Interestingly, agitation is the most common symptom
  methamphetamine [46] . Escalation of intake is also observed              reported in the retrospective review of self-reported exposures
  at higher rather than lower MDPV doses [47]. These data                   in the Scottish emergency department (prevalence: 26%)
  highly suggest that MDPV may possess a unique reinforcing                 (51], in the retrospective study from two US Poison centers
  profile among psychostimulants.                                           (prevalence: 82%) (52] , as well as in the prospective US
                                                                            series (prevalence: 66%) (53]. Detailed physical examination
  CLINICAL TOXICOLOGY                                                       at the bedside allows recognizing the sympathomimetic
                                                                            toxidrome including psychosis, significant tachycardia,
  General Data on Toxicity
                                                                            hypertension, and seizures. Signs attributed to serotonin
      Synthetic cathinone causes amphetamine-like psychoactive              toxicity are also not rare. Cardiovascular complications are
  and syrnpathomimetic effects. They are mainly used for                    commonly reported including chest pain, palpitation, and
  social and economic reasons in addition to their stimulant                collapse. The majority of cathinon-exposed patients is
  properties, often serving as replacement for others illicit               tachycardic with increased systolic and diastolic blood
  stimulant drugs (37]. Psychotropic effects of substituted                 pressure. Cases of cathinone-induced hyponatremia have
  cathinones are individual-, dose- and route of administration-            been reported, questioning the possibility of over hydration
  dependent (34]. The primary effects sought by users include               in the setting of drug-induced secretion of vasopressin like
  increased alertness, empathy, euphoria, openness in                       with MDMA (54] . In a large series of 236 patients exposed
  communication, talkativeness, intensification of sensory                  to "bath salts" and "legal highs", bought under 37 separate
  experiences, music sensitivity, reduced appetite, insomnia,               "brand" names in the US and identified as MDPV by gas
  sexual performance, increased sociability and capacity to                 chromatography/mass spectrometry when performed, the
  work (38].                                                                following clinical consequences were described: agitation
                                                                            (82%), combative behaviqr (57%), tachycardia (56%),                ~
     Users report a number of negative physical and
                                                                            hallucinations (40%), paranoia (36%), confusion (35%),
  psychiatric effects associated with synthetic cathinones (3].             chest pain (17%), myoclonus (19%), hypertension (17%),
  The main NPS adverse effects are summarized in Table 3.                   mydriasis (13%), CPK elevations (9%), hypokalemia (4%),
  Cardiac, psychiatric, and neurological adverse effects are the
                                                                            and blurred vision (3%) (52].
  most common reported ones requiring medical care. NPS use
  may lead to violence, homicidal combative behavior, self-                    Management of synthetic cathinone-induced toxicity is
  mutilation, coma, and death (39]. Acute toxicity is the                   primarily supportive and may necessitate admission to the
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  Synthetic Cathinones: A New Public Health Problem                                                      Cu"ent Neuropharmacology, 2015, VoL 13, No. 1 17

  Table 3.    Adverse and toxic effects of synthetic ca thin ones.

    Somatic Adverse Effects                                                                          Psychiatric Adverse Effects

    •    Cardiovascular system: tachycardia, hypovolemia, hypertension, chest pain, ST               •    Agitation, aggression
         segment alterations, myocarditis, cardiac arrest
                                                                                                     •    Anxiety, depersonalization/derealization panic attacks
    •   Central nervous system: headache, insomnia, dizziness, seizures, tremor, confusion
                                                                                                     •    Anorexia
        altered mental status, collapse, confusion, dizziness, drowsiness, dystonia, headache,
        hyperreflexia, myoclonus, paraesthesias                                                      •    Paranoia, paranoid delusion, visual and auditory
                                                                                                          hallucinations (often in the form of threatening
    •   Hematologic system: disseminated intravascular coagulation, thrombocytopenia,                     people), psychosis
        anemia
                                                                                                     •    Anhedonia, depression, suicidal thoughts/actions,
    •    Gastrointestinal and hepatic system: emesis, nausea, abdominal pain, abnormal liver              self-harm (gunshots, self-stabbings, repeated self-
         function tests, liver failure                                                                    mutilations) and risk behavior without evidence of
    •   Pulmonary system: Shortness of breath, tachypnea, respiratory failure and arrest,                 psychosis or depression comorbidity
        respiratory acidosis
                                                                                                     •    Cognitive disorders : long-term cognitive
    •    Renal system: increased serum creatinine, kidney damage, acute renal failure,                    impairments, disorientation to names, place and time,
         hyponatremia, hyperkalemia, hyperuricemia,                                                       loosening of association
    •   Musculoskeletal system: elevated creatinine kinase, rhabdomyolysis, peripheral               •    Addiction, tolerance, withdrawal
        vasoconstriction,
    •    Ophthalmic system: mydriasis, blurred vision, nystagmus

    •    ENT: Epistaxis, oral and pharyngeal effects, tongue disorder, trismus, bruxism
    •    Consequences of IV route use : vein blockage, skin erosion, local infection, abscess,
         scab, lump, gangrenous tissue, blood clots and large holes at overused injecting sites

    •    Others: hyperthermia, skin rash, diaphoresis, bone pain, necrotizing fasciitis, serotonin
         syndrome



  intensive care unit. Intravenous fluids, seizure-prevention                             MDPV-related psychoactive effects resembling those of
  measures, close monitoring and restraints are generally                             cocaine, which lasts from 3 to 4 hours [41] . Its short duration
  recommended to prevent harm to self or others [37, 55, 56].                         of action leads users to consume numerous doses in
  Other key-measures include benzodiazepines to treat agitation                       succession [15], to counteract the unpleasant comedown
  seizures, and sympathomimetic symptoms; aggressive                                  effects. MDPV use may result in tolerance and consequently
  cooling to treat hyperthermia; water restriction or hypertonic                      in overdose (42). Recent findings indicated that MDPV has
  saline to treat hyponatremia; mechanical ventilation to                             reinforcing properties and activates brain reward circuitry,
  protect airways and treat respiratory failure; fluids and                           suggesting a potential for abuse and addiction in humans
  catecholamine infusion to treat shock; and dialysis to treat                        [43]. Patients using MDPV are prone to development of
  severe metabolic disturbances and acute renal failure. In the                       bizarre behaviors, hallucinations suicidality, and excited
  series from the US poison centers, patients were treated and                        delirium syndrome, a condition described with phencyclidine
  released from the emergency department (49%), admitted to                           at considerable risk for serious medical morbidity like
  the intensive care unit (21 %), admitted to the psychiatry                          hyperthermia, rhabdomyolysis, kidney failure and even
  ward (12%) and lost to follow up (12%); additionally, one                           fatality [67-69]. MDPV has been detected in up to 107 non-
  fatality was reported [52].                                                         fatal intoxications and 99 deaths, particularly in Finland and
                                                                                      in the UK [34, 44].
  Specific Considerations on the Most Popular Synthetic                                    Methylone, a close structural analogue of MDMA and the
  Cathinones                                                                          second most popular designer drug used in 2010 and
      Mephedrone-related psychoactive effects last from 1 to 4                        combined to mephedrone [21] , is responsible for psychoactive
  h and resemble those of methamphetamine, including                                  effects resembling those of MOMA [45]. At average doses
  euphoria, elevated mood, alertness, increased concentration,                        of 100 to 200 mg, effects of methylone include calmer
  talkativeness, empathy, an ''urge to move", pleasurable                             euphoria, alertness, restlessness, strong feeling of empathy,
  rushing, sense of being sped up, enhanced music appreciation,                       with milder stimulation. Antidepressant effects, number of
                                                                                      significant adverse effects and even fatalities [74] were
  elevated mood, and mild sexual stimulation [40]. The higher
                                                                                      attributed to methylone use, mainly in association with other
  the dose or the more prolonged the mephedrone use is and,
                                                                                      illicit drugs.
  the more severe unwanted effects appear. The first reported
  death related solely to mephedrone was a Swedish decedent                               4-MEC, a synthetic stimulant chemically similar to
  with hyponatremia and brain edema [61]. Several additional                          methcathinone with empathogenic effects, is marketed alone
  cases were attributed to mephedrone, at least as adjunctive                         and in mixtures containing other synthetic cathinones under
  causative agent [62, 63].                                                           the names NRG-1 or NRG-2 [15] . Users report that 4-MEC
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  involves multiple time redosing ("boosting", "bumping"),                        [4]    Cottencin, O.; Rolland, B.; Karila, L. New designer drugs
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Revi ew

Clinical and pharmacological aspects of bath salt use: A review of the
literature and case reports
                                                                                                                                                                                                                                                                                 00            CrossMark



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ARTICLE                             INFO                                                          ABSTRACT

Article history:                                                                                 Bath salts are designer drugs with stimulant properties that are a growing medical and psychiatric con-
Received 15 December 2012                                                                        cern due to their widespread availability and use. Although the chemical compounds in the mixtures
Received in revised form 26 April 2013                                                           referred to as "bath salts" vary, many are derivatives of cathinone, a monoamine alkaloid. Cathinones
Accepted 20 June 2013
Available online 1 August 2013
                                                                                                 have an affinity for dopamine, serotonin, and norepinephrine synapses in the brain. Because of the strong
                                                                                                 selection for these neurotransmitters, these drugs induce stimulating effects similar to those of metham-
                                                                                                 phetamines, cocaine, and 3,4-methylenedioxy-N-methylamphetamine (MOMA). Much of the emerging
Keywords:
Bath salts
                                                                                                 information about bath salts is from emergency department evaluation and treatment of severe med-
Cathinone                                                                                        ical and neuropsychiatric adverse outcomes. This review consists of a compilation of case reports and
Hallucinations                                                                                   describes the emergent literature that illustrates the chemical composition of bath salts, patterns of use,
Psychosis                                                                                        administration methods, medical and neuropsychiatric effects, and treatments of patients with bath salt
Stimulant                                                                                        toxicity.
Tachycardic                                                                                                                                                © 2013 Elsevier Ireland Ltd. All rights reserved.


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1. Introduction                                                                          were not relevant to the clinical aspects or the chemical compo-
                                                                                         sition of bath salts.
    Bath salts are sympathomimetic stimulants with serotonergic
actions and hallucinogenic properties. The term, bath salts, refers                      3.1. Packaging and sales of bath salts
to a group of chemicals, generally derivatives of cathinone. Cathi-
none is a monoamine alkaloid found in khat (Catha edulis), a shrub                          Illicit bath salts are often sold in small appealing packages that
whose leaves are chewed or dried and consumed as tea for their                           vary in content and quantity to circumvent state and federal restric-
stimulant properties in East Africa and the Arabian Peninsula. Bath                      tions (El Paso Intelligence Center, 2011; National Drug Intelligence
salts typically contain at least one of three major synthetic cathi-                     Center, 2011 ). The packages contain white, crystalline powder or
nones: mephedrone, methylone, or methylenedioxypyrovalerone                              ingestible tablets (Forrester, 2012). Unlike traditional bath salts
(MDPV). Other non-cathinone derived compounds identified in                              sold as Epsom salts in large containers, illicit bath salts are often
bath salts preparations include piperazines (Forrester, 2012).                           sold in small 200-500 mg quantities at elevated prices, typically
    Despite efforts to regulate sales and distribution, bath salts                       25-75 dollars per package. These drugs are sold under various trade
are available for purchase at convenience stores, gas stations,                          names such as Cloud Nine, Drone, Ivory Wave, Ivory Coast, Vanilla
and on the Internet. The initial rise in popularity of bath salts in                     Sky, and White Rush (McGraw, 2012). Manufacturers seeking to
Europe and the United States has been attributed to their con-                           evade regulations label bath salts for use as an aromatic potpourri,
venient availability and marketing claims that they are safe to                          not intended for ingestion or intranasal use. Alternative marketing
use, as well as an overall lack of understanding of their adverse                        strategies include bath salts sold as plant food or insect repel-
effects (Prosser and Nelson, 2012 ). The increase in abuse and                           lant, with labels stipulating "not for human consumption" (National
attraction to bath salts can be attributed to the ability of users to                    Drug Intelligence Center, 2011 ). Advertisements also promote that
evade detection by standard urine toxicology testing. These com-                         bath salt products are safe, produce euphoria, and have sexual or
pounds are seen as legal substitutes that produce desirable effects                      energizing effects.
similar to methamphetamine, cocaine, and 3,4-methylenedioxy-N-
methylamphetamine (MOMA).
    The most common emergency department presentations of bath                           3.2. Trends in use
salt users are tachycardia, diaphoresis, and hypertension. Adverse
neuropsychiatric effects reported include agitation, paranoia, psy-                            Bath salts data compiled by the American Association of Poi-
chosis, and serotonin syndrome. Undesirable psychotic effects                             son Control Centers indicated 304 human exposure calls across the
associated with bath salts illustrate the importance of a greater                         country in 2010 and 6138 in 2011, representing a 2019% increase
awareness among clinicians. This review describes pertinent infor-                        within a one-year span in the United States (American Association
mation on trends in sales and use, effects, withdrawal symptoms,                          of Poison Control Centers, 2012 ). Drug Enforcement Administra-
chemical composition, animal research data, legal regulations,                            tion (DEA) National Forensic Laboratory Information System also
medical and psychiatric toxicity, and treatment considerations for                        received an increase in reports of synthetic cathinone seizures,
bath salt use. The most recent published case reports are also com-                       receiving 14 reports in 2009 from 8 states to 290 reports from
piled to provide a review of the existing medical literature.                             21 states in 2010 (National Drug Intelligence Center, 2011 ). Epi-
                                                                                          demiological data from national indicators, such as Monitoring the
                                                                                          Future, Drug Abuse Warning Network, and Substance Abuse and
2. Methods                                                                                Mental Health Services Administration is not yet available. How-
     A systematic literature review of articles was conducted through PubMed,             ever, patterns of use are being tracked on the state level by the
including articles published between January 1950 and January 2013. The search            National Institute of Drug Abuse Community Epidemiology Work
was done using the following terms: bath salt, cathinone, mephedrone, methylone,          Group (Forrester et al., 2011 ).
and methylenedioxypyrovalerone, in order to identify articles on patterns of use,              Similarly, in the European Union, data from the Early Warning
physical and neuropsychiatric characteristics, chemical composition and pharma-
cology, and legal regulation of bath salts. Literature evaluated included English only
                                                                                          System has reported a steady increase in the number of police
retrospective studies, toxicology data, chemical analyses studies, and case reports.      and forensic cases related to synthetic cathinones (methylone and
Case report studies regarding individual bath salt use were examined and compiled         mephedrone) since 2009. Synthetic cathinone seizures analyzed by
in a detailed table (Table 3 ). The GovTrack.us website was examined to identify any      the United Kingdom (UK) Forensic Science Service increased from
federal bills regarding chemicals in bath salts. The Drug Enforcement Administra-         less than 1O reports in 2009 to 650 reports in 2010. Additionally,
tion and Federal Register websites were also searched to identify recent legislation
on bath salts.
                                                                                          UK healthcare providers accessed the National Poisons Information
                                                                                          Service's entry on mephedrone 1664 times and made 157 telephone
                                                                                          inquiries from 2009 to 201 O(European Monitoring Centre for Drugs
3. Results                                                                                and Drug Addiction, 2012 ).
                                                                                               The available survey data identify users as predominantly young
    The literature search resulted in a total of 428 published med-                       males (Dulaney, 2012; Forrester et al., 2011; Spiller et al., 2011;
ical articles written in the English language relating to the key                         James et al., 201 0; Pohjalainen and Hoppu, 201 0 ). However, individ-
search terms (bath salt, cathinone, mephedrone, methylone, and                            ual case reports identifies a diverse population with users ranging
methylenedioxypyrovalerone), with the oldest report published in                          from teenagers to those in their 50s (National Drug Intelligence
1981. 146 of these articles discussed non-human animal studies;                           Center, 2011; Wood et al., 2010a,2010b, 2011 ). The Michigan Mor-
122 of these articles strictly pertained to the clinical characteris-                      bidity and Mortality 2012 weekly report stated that 46% of bath
tics of bath salts and these were tabulated for their experimental                         salt users presenting to emergency rooms had co-morbid mental
studies and study characteristics. Additionally, 11 surveys of user                        illness, and 69% had self-reported drug abuse (Center for Disease
reports and 20 articles regarding the pharmacology and chemical                            Control and Prevention, 2011 ). Prosser and Nelson's review (2012)
composition of bath salts were included in the review. Case reports                        demonstrated that bath salt users tended to use two or more drugs
began to appear in literature in 201 0; 29 case reports were iden-                         simultaneously, which was confirmed in post mortem toxicology
tified and compiled into Table 3 with sections including patient                           samples with bath salts normally found in conjunction with alco-
population, administration methods, physical and neuropsychi-                              hol, cocaine, tobacco, and cannabis (Prosser and Nelson, 2012;
atric characteristics, and disposition. The remaining 90 articles                          Forrester, 2012 ).
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Tablel                                                                                   diminish (McGraw, 2012). Table 1 identifies the characteristic phys-
Common physical and neuropsychiatric effects of bath salts.
                                                                                         ical and neuropsychiatric effects of bath salts.
                                Desira ble                 Adverse
  Physical                      Alertness                  Cerebral edema                3.4.2. Withdrawal. Bath salt binge users describe a "crash or come-
                                Analgesic effects          Diaphoresis                   down" after use that is reportedly similar to or more intense than
                                Increased energy           Hyperreflexia                 the withdrawal from other stimulants. Winstock and colleagues
                                Stimulation                Hyperte nsion                 (2011 ) surveyed mephedrone users who identified withdrawal
                                                           Hyperthermia
                                                           Jaw tension
                                                                                         symptoms similar to the Diagnostic and Statistical Manual of Men-
                                                           Muscle spasms                 tal Disorders (DSM) criteria for stimulant withdrawal, including
                                                           Mydriasis                     insomnia, fatigue, increased appetite, and depression or dyspho-
                                                           Myocardi al in farction       ria. Other commonly reported symptoms of post acute intoxication
                                                           Respiratory di stress         include craving, nausea, irritability, unusual sweat odor, paranoia,
                                                           Seizures
                                                           Tachycardic                   and fear (McGraw, 2012). Additional data is necessary in order to
                                                                                         determine if the negative experiences described immediately post
  Neuro psychi atric            Creativity                 Aggression
                                Empathy                    Agitatio n
                                                                                         intoxication are part of the acute toxicity or more typical of a with-
                                Euphoria                   Combative behavior            drawal syndrome.
                                Sociability                Dysphoria
                                Productivity               Hallucinations                3.5. Regulation
                                Mental clarity             In somni a
                                Sexua l arousa l           Paranoia
                                Sharpened awa reness       Psychosis                         State, national, and international regulations are being devel-
                                                           Suicidal t houghts            oped to decrease sales distributions and use. Bath salts are
Refere nces:
                                                                                         marketed, sold, and shipped directly to distributors and users alike
(1 ) Forrester (2012 ).                                                                  via the Internet, creating a challenge for international and national
(2) Hadlock et al. (2011 ).                                                              tracking and regulation. The first documented seizure of bath salts
(3) Lusthof et al. (2011 ).                                                              in the United States was in 2009. Since then, recent law enforce-
(4) Maskell et al. (2011 ).                                                              ment data and U.S. Ports of Entry seizure data indicate that most
(5 ) National Drug Intelligence Center (2011).
(6 ) Prosser and Nelson (2012).                                                          of the synthetic cathinones are manufactured internationally in
(7) Spiller et al. (2011 ).                                                              China, India, and Pakistan (National Drug Intelligence Center, 2011 ).
(8) Winstock et al. (2011).                                                              In light of this growing public health concern, states began regu-
                                                                                         lating bath salts beginning in early 2011. All 50 states had banned,
                                                                                         restricted, or introduced legislation to ban the distribution, pos-
3.3. Patterns of use of bath salts                                                       session and/or consumption of some of the compounds by April
                                                                                         2011 (National Drug Intelligence Center, 2011 ). On October 21,
    Patterns of bath salt use vary from daily to episodic. Some users                    2011, mephedrone, MDPV, and methyl one were temporarily placed
report increased tolerance or diminished euphoric response with                          onto Schedule I of the United States Controlled Substances Act
daily usage, and others report adverse physical or psychological                         (CSA; Drug Enforcement Administration, 2011 ). Through the Syn-
events that may also deter frequent use. Additional confounding                          thetic Drug Abuse Prevention Act of 2012, passed in June 2012,
factors are the varying content, concentrations, and potency of the                      mephedrone and MDPV were added to Schedule I of the CSA
compounds found in bath salt packages (McGraw, 2012 ). The most                          (Food and Drug Administration, 2012 ). In October 2012, the tem-
commonly reported methods of administration are intranasal and                           porary scheduling of methylone and its salts was extended until
oral ingestion (Forrester, 2012 ). "Bombing" involves wrapping the                       April 20, 2013 or until further decision was reached by officials
bath salt compound in cigarette paper before ingesting the mixture.                      (Drug Enforcement Administration, 2012 ). Currently, none of the
"Keying" involves insufflating powder that is applied onto a key.                        synthetic cathinones are regulated by the UN Drug Control Con-
Other methods of administration include injection (either intra-                         ventions, but there are some cathinones including mephedrone and
venous or intramuscular), gingival delivery, and rectal or vaginal                       methyl one, that are scheduled drugs in multiple European member
insertion (Michigan Department of Corrections, 2012 ). Users will                        states (European Monitoring Centre for Drugs and Drug Addiction,
often switch between administration methods during a binge, par-                         2012 ).
ticularly with mephedrone, due to reports of nasal irritation, nasal                         Bath salts are still available in the US and Europe despite efforts
erosion, and dyspepsia.                                                                  to regulate their distribution and sales. Bath salt manufacturers
   The onset of psychoactive effects and duration of action dif-                         evade federal regulations by frequently altering the chemical struc-
fer with administration methods. Intravenous injection and nasal                         ture of their products (Schifano et al., 2011 ). In their analysis of
insufflation were reported to achieve the quickest "high" but with                       stimulant products advertised as "legal highs," Shanks and col-
the shortest duration, while oral ingestion resulted in longer dura-                     leagues have found that many of the fbanned substances have been
tion periods but required longer onset time (Prosser and Nelson,                         replaced by compounds that are yet to be regulated (Shanks et al.,
2012 ). In a survey of 100 mephedrone users conducted by Winsock                         2012 ).
and colleagues, the typical pattern of use through insufflation was
reported to be an average of 5.5 doses over a 10-h period with a                          3.6. Neurochemistry and pharmacology
median of 1 h between doses (Wins tock et al., 2011 ), suggesting a
shorter duration of action of mephedrone with intranasal use.                             3.6.1 . Chemistry. Despite the popularity and extensive use of bath
                                                                                          salts, pharmacology information on these compounds is limited.
3.4. Effects of bath salt use                                                             Studies have identified two general classes of chemical species
                                                                                          in bath salt mixtures, compounds with stimulant activity related
3.4.1. Common characteristics. Table 1 summarizes the desirable                           to the amphetamines, and compounds with serotonergic effects
and adverse effects of bath salt use based on the medical liter-                          that appear to contribute to the hallucinogenic properties of these
ature and user self-reports. Some users describe an experience                            mixtures. The amphetamine related compounds are derivatives of
of intense euphoria followed by craving when the acute effects                            cathinone that differ from amphetamine in the beta carbon, or the
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                                                     K. Miotto et al./ Drug and Alcohol Dependence 132 (2013) 1-12                                                         11

service, including inpatient and outpatient psychiatric or addiction                  Angoa-Perez, M., Kane, M.J., Francescutti, D.M., Sykes, K.E., Shah, M.M., Mohammed,
treatment units.                                                                          AM., Thomas, D.M., Kuhn, D.M., 2012. Mephedrone, an abused psychoactive
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4. Conclusion                                                                             1097-1107.
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                                                                                          of 'party pill' drug N-benzylpiperazine (BZP) in healthy human participants.
    Bath salts are composed of a group of chemicals that are gen-                         Forensic Sci. Int. 186, 63-67.
erally derivatives of cathinone. Cathinone is a monoamine alkaloid                    Antia, U., Tingle, M.D., Russell, B.R., 2009b. In vivo interactions between BZP and
found in the leaves of the shrub, khat (Catha edulis) that is chewed                      TFMPP (party piil drugs). N. Z. Med.J. 122, 29-38.
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for their stimulant properties. The desired effects from bath salts                       by consumption of methylenedioxypyrovalerone: two cases. Gen. Hosp. Psychi-
include euphoria, increased energy, and alertness. These chemicals                        atry 33, e5-e6.
are marketed as "legal" alternatives to illicit drugs like metham-                    Arbo, M.D., Bastos, M.L., Carma, H.F., 2011. Piperazine compounds as drugs of abuse.
phetamine, cocaine, and MOMA. The popularity of bath salts has led                        Drug Alcohol Depend. 122, 174-185.
                                                                                      Baumann, M.H., Clark, RD., Budzynski, A.G., Partilla, j.S., Blough, B.E., Rothman,
to an increase in abuse due to widespread accessibility and ability                       R.B., 2005. N-substituted piperazines abused by humans mimic the molecu-
of users to evade detection by standard urine toxicology testing.                         lar mechanism of3,4-methylenedioxymethamphetamine (MOMA, or 'Ecstasy').
   The major chemical components found in bath salts are the three                        Neuropsychopharmacology 30, 550-560.
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synthetic cathinone derivatives: mephedrone, methylone, and                               effects of cathinone derivatives. Psychosomatics 52, 593-594.
MPDV, in addition to piperazines. Mephedrone acts on dopamine                         Berger, M., Gray, J.A., Roth, B.L., 2009. The expanded biology of serotonin. Annu. Rev.
and serotonin systems; its addictive properties are believed to be                        Med. 60, 355-366.
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due to a massive spike in neurotransmitter activity coupled with a                        of "bath salts" containing 3,4-methylenedioxypyrovalerone. Ann. Emerg. Med.
subsequent fall. Methylone and piperazines show strong selective                          60, 103- 105.
affinity for the serotonin receptors, which produce the hallucina-                    Boulanger-Gobeil, C., St-Onge, M., Laliberte, M., Auger, P.L., 2012. Seizures and
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tions that are experienced by bath salt users. MDPV also acts as a                        8, 59-61 .
reuptake inhibitor on norepinephrine and dopamine neurotrans-                         Boyer, E.W., Shannon, M., 2005. The serotonin syndrome. N. Engl. J. Med. 352,
mitters. The effects of cathinones and piperazines are expected to                        1112-1120.
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be shorter.than those of methamphetamines due to their shorter                            like effects in humans of the khat alkaloid cathinone. Br. J. Clin. Pharmacol. 30,
half lives.                                                                               825-828.
    Despite drug labels touting safety, users suffer untoward effects                 Center for Disease Control and Prevention, 2011. Emergency department visits after
from bath salt use including both physical and neuropsychiatric                           use of a drug sold as "bath salts" - Michigan, November 13, 2010- March 31 ,
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symptoms. In severe cases, multi-system organ failure and death                       Chiang, C.K., Chou, Y.H., Chen, Y.H., Sha, C.B., Liang, C.S., 2011. Aphthous ulcers asso-
can occur. More commonly, psychosis can occur with extended                               ciated with bupropion in a female adolescent: a case verified by rechallenge.
drug use in addition to agitation and paranoia. Data also suggests                        Gen. Hosp. Psychiatry 4, 411 .
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that there is a higher risk of psychosis in users with concurrent                         White, W.R., Perez-Reyes, M., 1993. Pharmacokinetics of methamphetamine
psychiatric disorders and it is not uncommon for users to develop                         self-administered to human subjects by smoking 5-( + )-methamphetamine
psychotic symptoms in the intoxicated or withdrawal period. State                         hydrochloride. Drug Metab. Dispos. 21, 717- 723.
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